          Case 1:24-cv-00855-MLG-LF           Document 1         Filed 01/29/24    Page 1 of 57




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11
                                   UNITED STATES DISTRICT COURT
12                                      DISTRICT OF NEVADA
13
     BRIAN COURTMANCHE, LAURA J.
14   FABER, PATRICIA MANCIERI, DAVID                         Case No.
     SILVER, and JOSSELYN’S GETAWAY
15   LOG CABINS, LLC, on behalf of themselves
     and all others similarly situated,
16                                                           CLASS ACTION COMPLAINT
                     Plaintiffs,
17                                                           JURY TRIAL DEMANDED
           v.
18
     PERMIAN RESOURCES CORP. f/k/a
19   CENTENNIAL RESOURCE
     DEVELOPMENT, INC.; CHESAPEAKE
20   ENERGY CORPORATION; CONTINENTAL
     RESOURCES INC.; DIAMONDBACK
21   ENERGY, INC.; EOG RESOURCES, INC.;
     HESS CORPORATION; OCCIDENTAL
22   PETROLEUM CORPORATION; and
     PIONEER NATURAL RESOURCES
23   COMPANY,
24                   Defendants.
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             Case 1:24-cv-00855-MLG-LF           Document 1       Filed 01/29/24       Page 2 of 57




 1            Plaintiffs Brian Courtmanche, Laura J. Faber, Patricia Mancieri, David Silver and Josselyn’s

 2   Getaway Log Cabins, LLC (collectively, “Plaintiffs”), individually and on behalf of the Classes defined

 3   below, bring this antitrust class action to recover treble damages, injunctive relief, and any other relief as

 4   appropriate, based on violations of the Sherman Act and various state antitrust and consumer protection

 5   laws by Permian Resources Corporation f/k/a Centennial Resource Development, Inc.; Chesapeake

 6   Energy Corporation; Continental Resources Inc.; Diamondback Energy, Inc.; EOG Resources, Inc.; Hess

 7   Corporation; Occidental Petroleum Corporation; and Pioneer Natural Resources Company (collectively

 8   “Defendants”), and allege, upon their personal knowledge as to themselves and each of their own actions,
 9   and otherwise upon information and belief, including the investigation of counsel, as follows:
10                                         NATURE OF THE ACTION

11            1.      This class action arises from Defendants’ conspiracy to coordinate, and ultimately

12   constrain, domestic shale oil production, which has had the purpose and effect of fixing, raising, and

13   maintaining the price of crude oil—and, as a direct result, the price of home heating oil (“HHO”)—in

14   and throughout the United States.

15            2.      Shale oil, also called “tight oil,” is a type of crude oil extracted from sedimentary shale

16   rock formations, typically using unconventional techniques such as horizontal drilling or hydraulic

17   fracturing (or “fracking”). Today, shale oil comprises approximately two-thirds of all crude oil produced

18   onshore in the United States.

19            3.      Refineries purchase shale oil and other crude oil extracted from traditional drilling

20   methods, co-mingle them, then refine the crude oil into gasoline, diesel, and other petroleum-based

21   products—including HHO. In fact, diesel fuel and HHO are virtually identical in terms of chemical

22   composition, though HHO is dyed red to denote its tax-free status. HHO is then transported by rail or

23   barge from refineries to larger storage facilities, who then transport the HHO to smaller storage tanks for

24   sale to local retail customers who typically have their HHO delivered directly to their home by truck.

25            4.      HHO is used by approximately 5 million households across the United States—primarily

26   in the Northeast, and to a lesser degree in the South, Midwest, and West—to heat their homes. 1

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         https://www.eia.gov/energyexplained/heating-oil/use-of-heating-oil.php (last accessed 1/25/24).

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            Case 1:24-cv-00855-MLG-LF           Document 1       Filed 01/29/24      Page 3 of 57




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 2            5.     Shale oil is the main input in used in the production of HHO, making it the primary

 3   determinant of the price of HHO. Accordingly, a conspiracy to fix the price of crude oil is also a

 4   conspiracy to fix the price of HHO.

 5            6.     Domestic independent shale oil producers (“independents”) are companies that mostly

 6   focus on the exploration, development, and production of shale resources in the United States.

 7   Independents are distinct from large, vertically integrated energy companies such as ExxonMobil and

 8   Chevron (commonly referred to as the “supermajors”), that have diverse global operations encompassing
 9   various types of energy sources.
10            7.     Defendants are among the largest independents focusing on domestic shale oil production.
11   Traditionally, they acted as “swing producers” in the global crude oil market because of their ability to
12   quickly adjust shale oil production levels in response to changing market conditions, thus “swinging” the
13   price of crude oil.
14            8.     Following years of relatively lower prices driven by the “U.S. Shale Boom” and increasing
15   volumes and efficiencies in producing shale oil, crude oil prices in the United States began to rise
16   dramatically in January 2021 and continuing to the present.
17            9.     While industry analysts (and basic principles of supply and demand) anticipated that
18   Defendants would increase shale oil production to take advantage of the rising prices, Defendants instead

19   collectively decided not to increase their shale oil production. As a result, crude oil prices, and thus HHO

20   prices, have remained high.

21            10.    Defendants’ agreement to refrain from increasing their shale oil production was part of a

22   larger agreement with the Organization of the Petroleum Exporting Countries (“OPEC”)—the

23   international cartel of the largest oil-producing nations, whose stated purpose is to manipulate global oil

24   prices by coordinating production levels amongst its members. 2

25            11.    Between at least 2017 and 2023, Defendants and OPEC met and communicated regularly

26   with one another to exchange confidential production and capacity information, and to coordinate their

27   collective crude oil output in response to then-prevailing market conditions. Afterwards, Defendants

28   2
         https://www.cfr.org/backgrounder/opec-changing-world (last accessed 1/25/24).

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           Case 1:24-cv-00855-MLG-LF               Document 1       Filed 01/29/24      Page 4 of 57




 1   publicly confirmed these meetings and the fact that they and OPEC discussed production strategies, future

 2   investment plans, and price targets in unusually candid terms.

 3           12.         For example, one U.S. shale executive—though he or she asked to remain anonymous—

 4   nonetheless bragged to Reuters about how, after meeting with OPEC and “having an open dialogue on

 5   some of the things that are going on in the U.S. shale revolution, U.S. oil production and the associated

 6   balance of what’s going on in our industry,” that U.S. shale oil producers “now have a seat the table on

 7   [oil] pricing.” 3

 8           13.         OPEC has been even more brazen. In an official OPEC bulletin issued after OPEC
 9   Secretary General Mohammed Barkindo sat on a panel with Defendant Hess Oil’s CEO John Hess,
10   Secretary Barkindo wrote: “We have to continue to collaborate. It’s one industry. It’s a global industry,
11   and I think our colleagues in the U.S. are on the same page with us and we will work together to
12   exchange views.” 4
13           14.         While crude oil supply and prices remained relatively stable prior to the COVID-19

14   pandemic, demand and prices dropped precipitously at the beginning of the pandemic, only to begin

15   climbing again by early 2021. When Russian invaded Ukraine in February 2022, the supply chain

16   disruption and the loss of crude oil supplied by Russia (who, due to the sanctions imposed upon it by

17   other countries, effectively eliminated its crude oil supplies from the global market) sent prices even

18   higher, creating a ripe environment for swing producers such as the Defendants to quickly increase

19   production and aggressively capture market share.

20           15.         Instead, the Defendants—in a marked departure from their historical practices and directly

21   contrary to each of their individual, unilateral self-interests—limited their domestic shale oil production

22   growth. But for the conspiracy alleged herein, no economically rational independent would have acted

23   or refused to act in this manner.

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       https://www.reuters.com/article/us-oil-opec-usa-idUSKCN1GB2KP/ (last accessed 1/25/24).
     4
       https://www.cnbc.com/2019/01/23/trump-blasted-opec-hess-ceo-says-the-group-deserves-praise.html
28   (last accessed 1/25/24).

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           Case 1:24-cv-00855-MLG-LF            Document 1       Filed 01/29/24      Page 5 of 57




 1           16.      Defendants’ conspiracy, which limited each of their respective shale oil production

 2   volumes, had the purpose and effect of fixing, stabilizing, or maintaining crude oil prices—and, in turn,

 3   HHO prices— at artificially inflated levels throughout the United States during the Class Period.

 4           17.      The cartel formed by Defendants’ conspiracy is a per se unlawful restraint of trade under

 5   not only federal antitrust law but numerous state antitrust, unfair competition, and consumer protection

 6   laws. Plaintiffs and the members of the proposed Classes suffered substantial harm by virtue of the

 7   supracompetitive prices they paid for HHO as a direct and proximate result of the cartel and the resulting

 8   agreement to constrain domestic shale oil production. Plaintiffs bring this suit to recover those losses and
 9   to enjoin Defendants’ conduct to hopefully prevent Defendants from harming any other HHO consumers
10   in the future.
11                                                   PARTIES

12           18.      Plaintiff Brian Courtmanche is a citizen of Connecticut residing in Madison, Connecticut.

13   Plaintiff Courtmanche purchased home heating oil during the Class Period and paid higher prices for

14   those purchases as a result of the allegations alleged in this Complaint.

15           19.      Plaintiff Laura J. Faber is a citizen of New York residing in Port Jefferson, New York.

16   Plaintiff Faber purchased home heating oil during the Class Period and paid higher prices for those

17   purchases as a result of the allegations alleged in this Complaint.

18           20.      Plaintiff Patricia Mancieri is a citizen of Rhode Island residing in Greenville, Rhode

19   Island. Plaintiff Mancieri purchased home heating oil during the Class Period and paid higher prices for

20   those purchases as a result of the allegations alleged in this Complaint.

21           21.      Plaintiff David Silver is a citizen of Connecticut residing in West Hartford, Connecticut.

22   Plaintiff Silver purchased home heating oil during the Class Period and paid higher prices for those

23   purchases as a result of the allegations alleged in this Complaint.

24           22.      Plaintiff Josselyn’s Getaway Log Cabins, LLC is a New Hampshire limited liability

25   corporation with its principal place of business in Jefferson, New Hampshire. Plaintiff Josselyn’s

26   Getaway Log Cabins, LLC purchased home heating oil during the Class Period and paid higher prices

27   for those purchases as a result of the allegations alleged in this Complaint.

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          Case 1:24-cv-00855-MLG-LF            Document 1       Filed 01/29/24      Page 6 of 57




 1          23.     Defendant Permian Resources Corporation (“PRC” or “Centennial”) is a Delaware

 2   corporation with its principal place of business in Midland, Texas. It was formed in 2022 in a transaction

 3   between Colgate Energy Partners III, LLC and Centennial Resource Development, Inc. and, during the

 4   Class Period, conducted business and was primarily known as “Centennial.” It is a major producer of

 5   crude oil from shale oil formations in New Mexico and Texas, which is refined into HHO and sold

 6   throughout the United States. PRC’s common stock is listed on the New York Stock Exchange under the

 7   ticker symbol “PR.”

 8          24.     Defendant Chesapeake Energy Corporation (“Chesapeake”) is an Oklahoma corporation
 9   with its principal place of business in Oklahoma City, Oklahoma. Chesapeake is a major producer of
10   crude oil from shale oil formations, largely in Pennsylvania and Louisiana, which is refined into HHO
11   and sold throughout the United States. Its common stock is listed on the NASDAQ Stock Market under
12   the ticker symbols “CHK,” “CHKEL,” “CHKEW,” and “CHKEZ.”
13          25.     Defendant Continental Resources Inc. (“Continental”) is an Oklahoma corporation with
14   its principal place of business in Oklahoma City, Oklahoma. Continental is a major producer of crude oil
15   from shale oil formations, largely in Oklahoma, Montana, North Dakota, Texas, and Wyoming, which is
16   refined into HHO and sold throughout the United States. Its common stock is listed on the New York
17   Stock Exchange under the ticker symbol “CLR.”
18          26.     Defendant Diamondback Energy, Inc. (“Diamondback”) is a Delaware corporation with

19   its principal place of business in Midland, Texas. Diamondback is a major producer of crude oil from

20   shale oil formations in Texas, which is refined into HHO and sold throughout the United States. Its

21   common stock is listed on the NASDAQ Stock Market under the ticker symbol “FANG.”

22          27.     Defendant EOG Resources, Inc. (“EOG”) is a Delaware corporation with its principal

23   place of business in Houston, Texas. EOG is a major producer of crude oil from shale oil formations in

24   Colorado, New Mexico, New York, North Dakota, Oklahoma, Pennsylvania, Texas, and Wyoming,

25   which is refined into HHO and sold throughout the United States. Its common stock is listed on the New

26   York Stock Exchange under the ticker symbol “EOG.”

27          28.     Defendant Hess Corporation (“Hess”) is a Delaware corporation with its principal place

28   of business in New York, New York. Hess is a major producer of crude oil from shale oil formations in


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          Case 1:24-cv-00855-MLG-LF             Document 1       Filed 01/29/24      Page 7 of 57




 1   North Dakota, which is refined into HHO and sold throughout the United States. Its common stock is

 2   listed on the New York Stock Exchange under the ticker symbol “HES.”

 3          29.     Defendant Occidental Petroleum Corporation (“Occidental”) is a Delaware corporation

 4   with its principal place of business in Houston, Texas. Occidental is a major producer of crude oil from

 5   shale oil formations in Colorado, New Mexico, and Texas, which is refined into HHO and sold

 6   throughout the United States. Its common stock and warrants are listed on the New York Stock Exchange

 7   under the ticker symbols “OXY” and “OXY WS,” respectively.

 8          30.     Defendant Pioneer Natural Resources Company (“Pioneer”) is a Delaware corporation
 9   with its principal place of business in Irving, Texas. Pioneer is a major producer of crude oil from shale
10   oil formations in Texas, which is refined into HHO and sold throughout the United States. Its common
11   stock is listed on the New York Stock Exchange under the ticker symbol “PDX.”
12          31.     The term “Defendants,” as used herein, refers to and includes each of the named
13   Defendants—Centennial, Chesapeake, Continental, Diamondback, EOG, Hess, Occidental, and
14   Pioneer—as well as their predecessors, successors, parents, wholly owned or controlled subsidiaries or
15   affiliates, employees, officers, or agents. Though each Defendant may have predecessors, successors,
16   parents, subsidiaries and affiliates with distinct corporate forms, each Defendant’s officers, employees,
17   and agents routinely refer to the Defendant and its subsidiaries and affiliates collectively without
18   distinguishing amongst their related corporate entities.

19          32.     Where an action is attributed to “Defendants,” unless stated otherwise, that action is

20   alleged to have been taken by each of Centennial, Chesapeake, Continental, Diamondback, EOG, Hess,

21   Occidental, and Pioneer.

22                                   AGENTS AND CO-CONSPIRATORS

23          33.     Various co-conspirators, some known and some unknown, willingly participated in and

24   acted in furtherance of the alleged conspiracy.

25          34.     Each Defendant was a co-conspirator with the other Defendants and committed overt acts

26   in furtherance of the conspiracy alleged herein in the United States and in this District.

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          Case 1:24-cv-00855-MLG-LF             Document 1        Filed 01/29/24       Page 8 of 57




 1          35.     Defendants participated in the alleged conspiracy through the acts of their officers,

 2   directors, agents, partners, employees, representatives, affiliates, subsidiaries, and companies they

 3   acquired through mergers and acquisitions, for whom they are liable.

 4          36.     At all relevant times, other known and unknown corporations, individuals, and entities

 5   willingly conspired with Defendants in their unlawful and illegal conduct. Numerous individuals and

 6   entities participated actively during the course of, and in furtherance of, the scheme described herein.

 7   The individuals and entities acted in concert through, amongst other things, joint ventures, and by acting

 8   as agents for principals in order to advance the objectives of the scheme to benefit Defendants and
 9   themselves through the manipulation of shale oil production and crude oil, and also HHO, prices.
10          37.     Whenever reference is made to an act of any organization, corporation, or other business
11   entity, the allegation means that the entity engaged in the act by or through its officers, directors, agents,
12   partners, employees, or representatives while they were actively engaged in the management, direction,
13   control, or transaction of the corporation’s business or affairs.
14                               JURISDICTION, VENUE, AND COMMERCE

15          38.     This action arises under Section 1 of the Sherman Act (15 U.S.C. §1), and Section 16 of

16   the Clayton Act (15 U.S.C. §26), as well as the antitrust, unfair competition, and consumer protection

17   laws of various states. The Sherman Act claim is for injunctive relief, costs of suit, and reasonable

18   attorneys’ fees; the various state claims seek to recover injunctive relief, compensatory damages, treble

19   damages, costs of suit, and reasonable attorneys’ fees.

20          39.     This Court has subject matter jurisdiction pursuant to Section 16 of the Clayton Act, 15

21   U.S.C. § 26, and 28 U.S.C. §§ 1331, 1333(d), 1337(a), and 1367.

22          40.     This Court has diversity jurisdiction over this action under 28 U.S.C. § 1332(d) because

23   this is a class action wherein the amount in controversy exceeds the sum or value of $5 million, exclusive

24   of interest and costs, there are more than 100 members in the proposed class, and Plaintiffs are citizens

25   of Connecticut, New Hampshire, New York, and Rhode Island, thus at least one of the Plaintiffs is diverse

26   from at least one of the Defendants, all of whom are either incorporated in Delaware or Oklahoma and

27   whom have their principal places of business in New York, Oklahoma, or Texas.

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           Case 1:24-cv-00855-MLG-LF              Document 1      Filed 01/29/24       Page 9 of 57




 1           41.     This Court also has personal jurisdiction over all Defendants, and Venue in this District

 2   is proper, under the combination of 15 U.S.C. §22 and 28 U.S.C. §1391(b), (c), and (d). A substantial

 3   part of the events or omissions giving rise to the claim occurred in this District. On information and

 4   belief, each Defendant resides, transacts business, is found, or has an agent in this District.

 5           42.     Defendants’ activities were within the flow of, and were intended to and did have a

 6   substantial effect on, interstate commerce of the United States. Defendants’ products and services are

 7   sold in the flow of interstate commerce.

 8           43.     By reason of the unlawful activities alleged herein, Defendants’ unlawful activities
 9   substantially affected commerce throughout the United States, causing injury to Plaintiffs and the
10   geographically dispersed class members. Defendants, directly and through their agents, engaged in
11   activities affecting all states.
12           44.     Defendants’        conspiracy,   wrongful   anticompetitive    conduct,    and    substantial
13   anticompetitive effects described herein proximately caused injury to Plaintiffs and members of the
14   proposed Classes.
15                                       FACTUAL ALLEGATIONS
             A.      The Organization of the Petroleum Exporting Countries (“OPEC”) and Its
16                   Historical Control Over Crude Oil Prices.
17           45.     OPEC is an intergovernmental organization comprising twelve oil-exporting countries—
18   Algeria, Congo, Equatorial Guinea, Gabon, Iran, Iraq, Kuwait, Libya, Nigeria, Saudi Arabia, United Arab

19   Emirates, and Venezuela—that “coordinates and unifies the petroleum policies of its Member

20   Countries.” 5 One of its stated objectives is “to secure fair and stable prices for petroleum producers.” 6 In

21   reality, OPEC is an open and notorious cartel that manipulates global oil prices by coordinating

22   production levels amongst its members. 7

23           46.     OPEC and its member countries account for 40% of the world’s oil production 8 and 80%

24   of its proven current oil reserves. 9

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26     https://www.opec.org/opec_web/en/17.htm (last accessed 1/25/24).
     6
       https://www.opec.org/opec_web/en/about_us/24.htm (last accessed 1/25/24).
27   7
       https://www.cfr.org/backgrounder/opec-changing-world (last accessed 1/25/24).
     8
       https://www.eia.gov/finance/markets/crudeoil/supply-opec.php (last accessed 1/25/24).
28   9
       https://www.opec.org/opec_web/en/data_graphs/330.htm (last accessed 1/25/24).

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          Case 1:24-cv-00855-MLG-LF           Document 1        Filed 01/29/24      Page 10 of 57




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12          47.     As a result, OPEC has historically been able to exert market power over global crude oil
13   prices simply by coordinating its members’ respective production levels. In addition, non-member
14   nations have also followed OPEC’s lead in increasing or decreasing production levels to benefit from the
15   crude oil price targeted by OPEC.
16          48.     Historically, Saudi Arabia has acted as OPEC’s, and thus the world’s, “swing” producer—
17   i.e., the producer best able to rapidly increase crude oil production levels in response to changing market
18   conditions. This is because Saudi Arabia has generally had the largest production capacity, and it has

19   maintained the largest margin of excess capacity. 10 Thus, Saudi Arabia has traditionally been the world’s

20   de facto price leader to whom not only OPEC members, but also non-OPEC members, look for guidance.

21          49.     In late 2016, OPEC expanded its cartel by forming “OPEC+” which included ten

22   additional oil-producing nations—Azerbaijan, Kingdom of Bahrain, Brunei Darussalam, Kazakhstan,

23   Malaysia, Mexico, Sultanate of Oman, the Russian Federation, Republic of Sudan, and Republic of South

24   Sudan. 11 The reasons for this expansion: increases in U.S. crude oil production.

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       https://www.iea.org/reports/oil-market-report-january-2024# (last accessed 1/25/24).
     11
      https://www.opec.org/opec_web/static_files_project/media/downloads/publications/Declaration%20of
28   %20Cooperation.pdf (last accessed 1/25/24).

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          Case 1:24-cv-00855-MLG-LF              Document 1     Filed 01/29/24      Page 11 of 57




 1          B.      Fracking, U.S. Shale Oil Production, and a “New Oil Order.”

 2          50.     While the presence of hydrocarbons in shale formations was known for quite some time,

 3   it was not until the early 2000s when innovations in horizontal drilling and fracking made it economically

 4   viable to substantially increase output from shale and other tight rock formations. 12

 5          51.     These technologies were first applied to Texas’s Barnett shale formation in 2002 with

 6   phenomenal success. 13 Predictably, other U.S. companies soon followed suit and, between 2008 and

 7   2015, the U.S. saw its fastest increase in oil production capacity in history, reversing a 35-year trend of

 8   declining oil production. 14
 9          52.     These advancements and the resulting boom in U.S. shale oil production posed a unique
10   problem for OPEC. Unlike traditional drilling projects that required substantial investments of time and
11   money before production would begin but lasted for decades, shale oil wells required smaller capital
12   commitments and became operational in much shorter time frames. This enabled independent U.S. shale
13   oil producers to be more responsive to real-time market conditions and sudden changes in oil prices than
14   the “supermajor” producers using more traditional drilling methods.
15          53.     As a result, these smaller, independent U.S. shale oil producers had the unprecedented
16   ability to challenge OPEC’s stranglehold on crude oil prices because—within months of crude oil
17   reaching economically viable (i.e., “breakeven”) price levels—they could ramp up production to take
18   advantage of the higher prices. Thus, these independents could quickly supply the market whenever

19   OPEC implemented production quotas, essentially “free riding” on OPEC’s efforts to extract monopoly

20   rents by constraining crude oil supplies.

21          54.     Moreover, unlike OPEC (who purports to benefit from sovereign immunity to the

22   Sherman Act), these independent shale oil producers are subject to U.S. antitrust laws. Therefore, these

23   relatively smaller crude oil producers—though their combined production levels rivaled some of the

24   larger OPEC member nations—did not have the ability to coordinate production levels and prices like

25   12
        https://www.reuters.com/markets/commodities/is-us-shale-oil-revolution-over-kemp-2022-11-22/ (last
26   accessed 1/25/24).
     13
        https://www.dallasfed.org/~/media/documents/research/swe/2010/swe1003c.pdf (last accessed
27   1/25/24).
     14
        https://www.forbes.com/sites/rrapier/2017/04/21/how-the-shale-boom-turned-the-world-upside-down/
28   (last accessed 1/25/24).

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          Case 1:24-cv-00855-MLG-LF            Document 1        Filed 01/29/24     Page 12 of 57




 1   the OPEC cartel. Instead, these independents were actually forced to compete with one another, resulting

 2   in lower prices not only for crude oil, but also derivative petroleum products like HHO.

 3          55.     These events, dubbed “Cowboyistan,” ushered in an “American Oil Boom” between

 4   approximately 2010 and 2015, 15 and a “new oil order” emerged wherein aggressive competition from

 5   independent U.S. shale producers usurped Saudi Arabia’s role as the “swing” producer, thus eroding

 6   OPEC’s cartel set crude oil prices.

 7          C.      2014-2016: The “OPEC Price War."
 8          56.     OPEC member nations—whose GDPs and, in some instances, currencies rely heavily on
 9   crude oil prices—refused to willingly cede control over global crude oil prices to U.S. shale oil producers.
10   Instead, OPEC decided to leverage its control over the cheapest-to-produce oil in the world to drive the
11   more expensively produced U.S. shale oil out of the market.
12          57.     Accordingly, in the middle of 2014, OPEC made the strategic, long-term decision to push
13   crude oil prices to a level just low enough to render U.S. shale oil production no longer economically
14   viable while also ensuring its members were satisfied.
15          58.     This marked the beginning of a two-year period known as the “OPEC Price War” wherein
16   the price of crude oil plummeted as both OPEC member nations and U.S. shale oil producers flooded the
17   market with crude oil at levels not seen in decades.
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       https://www.forbes.com/sites/christopherhelman/2015/03/09/welcome-to-cowboyistan-fracking-king-
28   harold-hamms-plan-for-u-s-domination-of-global-oil/ (last accessed 1/25/24).

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                                                                           Apr 01, 2012
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                                                                           Oct 01, 2012
                                                                                                                                                            Figure 1: Crude Oil Spot Prices (2010 -2016)




                                                                           Jan 01, 2013
                                                                           Apr 01, 2013
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                                                                           Jul 01, 2013
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                                                                           Jul 01, 2016
                                                                           Oct 01, 2016
                Case 1:24-cv-00855-MLG-LF                                                                                                                                        Document 1                                                                     Filed 01/29/24                                                                       Page 14 of 57




 1                         59.                               During the same period, prices for HHO also plummeted.

 2   Figure 2: No. 2 Heating Oil 16 Prices (2010 – 2016)

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 4               $USD/Gallon
          3.5
 5

 6         3

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          2.5
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20                         60.                               Despite OPEC’s best efforts to price them into oblivion, U.S. shale oil producers persisted.

21   As crude oil prices dropped, shale oil producers managed to find ways to cut costs and increase

22   productivity, driving breakeven points—i.e., the price at which it still makes sent to continue drilling—

23   lower and lower. At the start of the OPEC Price War, the breakeven point was $82/barrel; by 2018, the

24   breakeven price was $47/barrel; and by 2021, the breakeven price was $37/barrel. 17

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     16
        No. 2 heating oil is the most common home heating oil and is virtually identical to diesel in chemical
27   composition.
     17
        https://www.rogtecmagazine.com/rystad-energy-as-falling-costs-make-new-oil-cheaper-to-produce-
28   climate-policies-may-fail-unless-they-target-demand/ (last accessed 1/25/24).

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          Case 1:24-cv-00855-MLG-LF             Document 1        Filed 01/29/24      Page 15 of 57




 1           61.      By implementing these cost-cutting measures and focusing on the most productive shale

 2   oil plays, U.S. shale oil producers were able to remain competitive even in the lower-price environment.

 3   Thus, many U.S. shale oil producers—including Defendants—continued to maintain production levels

 4   despite the lower prices caused by the OPEC Price War. Knowing that OPEC member nations, whose

 5   economies relied heavily on oil revenues, were similarly hurting, U.S. shale oil producers simply waited,

 6   ready to pounce whenever prices improved. As Defendant Pioneer’s CEO promised, U.S. shale oil

 7   producers were poised and ready to respond by ramping up production whenever oil prices moved above

 8   $60/barrel. 18
 9           62.      Nonetheless, some smaller players in the U.S. shale oil industry were driven out of
10   business or merged with larger players. Thus, the OPEC Price War did not kill the U.S. shale oil industry,
11   it simply consolidated it and rallied the survivors behind a shared mission to “hold the line” in the face
12   of a shared adversary.
13           D.       Defendants Are Given “A Seat at the Table on Pricing.”
14           63.      Perhaps seeing the writing on the wall and accepting the fact that its efforts to price U.S.
15   shale oil producers out of the market had failed, OPEC took a new approach.
16           64.      First, it expanded its reach by adding 10 additional member nations to form “OPEC+.”
17   This reduced the number of OPEC’s competitors and increased its global market share.
18           65.      Second, OPEC initiated a multi-year campaign to not only orchestrate a ceasefire, but to

19   bring “Cowboyistan” into the fold and make them members of the cartel.

20           66.      Luckily for OPEC, U.S. shale oil producers were open to the idea of joining the cartel.

21   For example, as reported by MarketWatch on September 8, 2016, Defendant Continental’s CEO, Harold

22   Hamm, said it was “‘high time’ for Russia and [OPEC] to forge a pact that would put an end to [the] slide

23   in crude oil prices,” further adding that “major crude-oil producers need to settle on a plan to stabilize oil

24   prices sooner than later. 19 Such comments were a clear signal that U.S. shale oil producers like Defendant

25   Continental were ready and willing to play ball with OPEC.

26
     18
        https://www.washingtonpost.com/business/economy/is-the-oil-world-big-enough-for-two-swing-
27   producers/2016/09/29/ce4e96f0-85f7-11e6-a3ef-f35afb41797f_story.html (last accessed 1/25/24).
     19
        https://www.marketwatch.com/story/trumps-potential-energy-czar-says-its-high-time-for-an-opec-
28   pact-to-freeze-output-2016-09-08 (last accessed 1/25/24).

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          Case 1:24-cv-00855-MLG-LF             Document 1     Filed 01/29/24     Page 16 of 57




 1          67.     Shortly thereafter, sometime in early 2017, Defendants and members of OPEC began

 2   having meetings and dinners together, including at industry meetings such as the            CERAWeek

 3   Conference, an energy-focused event held annually in Houston, Texas. 20

 4          68.     During that 2017 CERAWeek Conference, which was held March 6-10, “[OPEC’s

 5   General Secretary Mohammed] Barkindo dined with about two dozen U.S. shale executives,” including

 6   at least Scott Sheffield of Defendant Pioneer, John Hess of Defendant Hess, Doug Lawler of Defendant

 7   Chesapeake, and Tim Leach of Concho Resources Inc. 21 “The unusual 2017 dinner gathering opened a

 8   communication channel between the shale companies and OPEC countries.” 22
 9          69.     Right around that same time, on March 7, 2017, Scott Sheffield of Defendant Pioneer told
10   Bloomberg that, I’m seeing a series of meetings where OPEC is reaching out and spending more time
11   with U.S. independents than I’ve seen over my entire career. I think the new thought process within
12   OPEC is that there are other places around the world that can supply crude around the world, and they
13   want to definitely have an understanding of how fast it can come on.” 23 He further admitted to attending
14   what was described as a “Dinner Détente” and while he couldn’t discuss what was said over that dinner,

15   he did say that “[OPEC’s] trying to understand our business model” and “I think they’re trying to

16   understand more about our ability to produce, what the cost structure is and what’s going to happen over

17   the next several years.” 24 Sheffield added that, “[i]n return, shale producers are talking with OPEC to

18   learn about the members’ thought process towards the price of oil over the next several years, what

19   supplies the different members have themselves, and whether inventories are falling.” 25 According to

20   Sheffield, “[this] helps us plan long term.” 26

21

22

23   20
        https://www.reuters.com/business/energy/ceraweek-oil-prices-soar-us-shale-opec-no-rush-resume-
     price-war-2022-03-10/ (last accessed 1/25/24).
24   21
        https://www.worldoil.com/news/2018/2/27/opec-head-to-meet-u-s-shale-oil-producers-for-dinner-
25   next-week/ (last accessed 1/25/24).
     22
        Id.
     23
26      https://www.bloomberg.com/news/articles/2017-03-07/pioneer-s-sheffield-sees-40-oil-if-opec-doesn-
     t-extend-cuts (last accessed 1/25/24).
27   24
        Id.
     25
        Id.
28   26
        Id.

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          Case 1:24-cv-00855-MLG-LF            Document 1      Filed 01/29/24     Page 17 of 57




 1          70.     In another article describing that same dinner meeting, it was reported that, according to

 2   the attendees, “[t]he sides agreed in principle that the market should be better balanced and lower

 3   inventories would be beneficial to everyone.” 27 Attendees further said that “while the shale producers

 4   signaled they weren’t ready to give up on the growth they see ahead, OPEC indicated it wants higher

 5   prices, even if it means enriching the shale companies.” 28 According to Defendant Hess’s CEO, “It was

 6   a very good exchange of information and views about oil. … It was a good talk.” 29

 7          71.     Thus, as the participants of this meeting readily acknowledged, U.S. shale oil producers—

 8   including some if not all of the Defendants—not only shared competitively sensitive, forward-looking
 9   information concerning both production levels and pricing with OPEC, but they expressly agreed to
10   reduce crude oil supplies.
11          72.     Shortly after the CERAWeek meeting, Saudi Arabia’s Energy Minister Khalid Al-Falih
12   warned U.S. shale oil producers that if they wanted to collaborate, there would be no “free rides” on
13   OPEC production cuts, and they must instead be ready to pull their weight when the time comes. 30 Put
14   another way, OPEC told U.S. shale producers that OPEC expected them to work together and coordinate

15   their production cuts alongside OPEC.

16          73.     Later that year, OPEC Secretary General Barkindo told reporters that U.S. shale oil

17   producers were “beginning to ask questions about how to proceed [alongside OPEC] in a more

18   responsible manner.” 31 Barkindo explained that he understood, from a meeting with executives of

19   Defendants Hess and Continental during the CERAWeek Conference, that “[t]here is a general

20   understanding that this downturn [caused by the price war] was not in the interest of anybody” and

21   “[a]s much as we felt the pinch so did they.” 32

22          74.     In March 2018, the following year’s CERAWeek Conference was held. Prior to that

23   conference, OPEC Secretary General Barkindo, discussing another scheduled dinner with U.S. shale

24
     27
25      https://www.bloomberg.com/news/articles/2017-03-07/opec-said-to-break-bread-with-shale-in-rare-
     show-of-detente (last accessed 1/25/24).
     28
26      Id.
     29
        Id.
27   30
        https://www.reuters.com/article/idUSKBN16G2TQ/ (last accessed 1/25/24).
     31
        https://www.ft.com/content/89ddcf13-f338-315a-99ba-366256c7266a (last accessed 1/25/24).
28   32
        Id.

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          Case 1:24-cv-00855-MLG-LF           Document 1        Filed 01/29/24      Page 18 of 57




 1   producers, explained “[i]t’s a fulfillment of our common desire to continue the dialogue as agreed last

 2   year on the sidelines of CERAWeek.” 33 He said the dinner was arranged to “further explore the mechanic

 3   of achieving our common objective.” 34

 4          75.     That dinner took place on March 5, 2018 at the Grove restaurant in Houston, Texas. 35

 5   During that dinner, OPEC Secretary General Barkindo gave a speech that Defendant Pioneer’s CEO,

 6   Time Dove, later described as an exchange of OPEC’s forward-looking views on the oil market: “his

 7   main message was that [OPEC] believe[s] very strongly that demand is going to be significant moving

 8   forward in terms of growth.” 36 Defendant Centennial’s CEO, Mark Papa, characterized the speech as “a
 9   statement that everyone will work together to make sure the oil market is well-supplied and everyone is
10   happy to be working together.” 37
11          76.     OPEC representatives similarly described the dinner as an exchange of forward-looking

12   information. For example, OPEC Secretary General Barkindo reported that he and U.S. shale oil

13   executives “had a very open, frank and lively conversations on a current state of the cycle and we also

14   compared note[s] from our experiences during these cycles, how we should proceed going forward. I was

15   very surprised by the high-level of turnout, as well as the interest they have shown in continuing this

16   energy dialogue.” 38

17          77.     Similarly, Equatorial Guinea’s petroleum minister, Gabriel Mgaga Obiang Lima, told

18   reporters: “The key thing is that information is shared about our projections; it really helps

19   everybody…the important thing is to know how much they [U.S. shale oil producers] are investing and

20   their projections because usually they have good statistics.” 39 Lima then revealed the true purpose behind

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     33
        https://www.bloomberg.com/news/articles/2018-02-27/opec-head-to-meet-u-s-shale-oil-producers-
23   for-dinner-next-week (last accessed 1/25/24).
     34
        Id.
24   35
        https://www.reuters.com/article/us-ceraweek-energy-opec-shale-idUSKCN1GJ04H/ (last accessed
25   1/25/24).
     36
        Id.
     37
26      Id.
     38
        https://www.opec.org/opec_web/static_files_project/media/downloads/publications/OB022019.pdf
27   (last accessed 1/25/24).
     39
        https://www.cnbc.com/2018/03/06/opec-wants-to-take-its-relationship-with-us-shale-producers-to-
28   the-next-level.html (last accessed 1/25/24).

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          Case 1:24-cv-00855-MLG-LF            Document 1       Filed 01/29/24      Page 19 of 57




 1   this information exchange: “What we are doing is avoiding volatility,” he said—or, put differently,

 2   stabilizing prices by coordinating production. 40

 3          78.     As the CEO of one U.S. shale oil producer who declined to be identified by name told

 4   reporters, “Shale has dramatically changed the world’s perception of fossil fuels,” further adding: “We

 5   now have a seat at the table on pricing.” 41

 6          79.     Now that Defendants “had a seat at the table,” they began taking a more conciliatory

 7   approach with OPEC. Defendant Continental’s CEO, Harold Hamm, attended a board meeting of Saudi

 8   Aramco (the oil producer controlled by Saudi Arabia, OPEC’s largest member), agreed to speak at an
 9   OPEC event, and reportedly began “asking fellow shale producers to focus more on profitability and less
10   on profligate production.” 42
11          80.     In June 2018, OPEC Secretary General Barkindo invited U.S. shale officials to join him

12   at the OPEC International Seminar in Vienna, Austria. Executives from at least two Defendants attended

13   the event—Defendant Pioneer’s Scott Sheffield and Defendant Hess’s John Hess—during which

14   Sheffield stated: “OPEC should boost daily output by roughly 1 million barrels over time” and “[t]hey

15   [OPEC] need to put together some kind of deal to phase into the market. None of us want $80 to $100

16   [per barrel] oil, that’s too high. There’s a sweet spot between $60 and $80.” 43 Sheffield then added:

17   “OPEC needs to fulfill its duty.” 44

18          81.     In connection with the same OPEC summit, Defendants publicly admitted—perhaps for

19   the first time—to actively participating, rather than merely listening, during their meetings with OPEC.

20   Defendant Pioneer’s Sheffield admitted to discussing crude oil supplies and their effect on global prices:

21   “My message yesterday as I spoke to the [OPEC] panel was that it’s important that OPEC increases

22   production somewhat to make up for the different. If they don’t we are going to see $100 oil or higher.” 45

23

24   40
        Id.
     41
25      https://www.reuters.com/article/us-oil-opec-usa-idUSKCN1GB2KP/ (last accessed 1/25/24).
     42
        https://www.reuters.com/article/us-oil-opec-contl-resources-idUSKBN1JE1VW/ (last accessed
26   1/25/24).
     43
        https://www.reuters.com/article/idUSKBN1JG2OA/ (last accessed 1/25/24).
27   44
        Id.
     45
        https://www.bloomberg.com/news/videos/2018-06-21/pioneer-chairman-sees-an-opec-increase-of-up-
28   to-600-000-b-d-video (last accessed 1/25/24).

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          Case 1:24-cv-00855-MLG-LF             Document 1        Filed 01/29/24      Page 20 of 57




 1          82.      Sheffield’s message was apparently received loud and clear, and he received a return

 2   response: two days before OPEC’s June 22, 2018 production negotiation, Sheffield predicted to

 3   Bloomberg the exact amount of OPEC’s production change. 46

 4          83.     In January 2019, OPEC’s Secretary General Barkindo, Defendant Hess’s CEO John Hess,

 5   and Defendant Occidental’s CEO Vicki Hollub sat together on a panel at the Davos World Economic

 6   Forum where it was reported that both Hess and Hollub “said that growth of U.S. shale oil output would

 7   slow” in the near future and Barkindo, in turn, expressed a desire “to talk more regularly to U.S. producers

 8   to understand their industry better even if they could not participate in any OPEC-led production cuts.” 47
 9          84.     Hess responded by saying “OPEC plays a very important role in stabilizing the market
10   and those efforts need to be recognized,” to which Barkindo responded: “We have to continue to
11   collaborate. It’s one industry. It’s a global industry, and I think our colleagues in the U.S. are on the same
12   page with us and we will work together to exchange views.” 48
13          85.     That same month, OPEC+ began new production cuts, agreeing to reduce supply by 1.2

14   million barrels per day over the next six months. 49 After those cuts were announced, it was reported that

15   “U.S. shale producers cheered OPEC’s decision to trim output, a move that sent crude prices higher

16   [when announced] closing at levels that [shale] oil executives said would keep their profits flowing.” 50

17          86.     In March 2019, U.S. shale oil executives (including at least some of the Defendants) and

18   OPEC met at CERAWeek. Bloomberg reported that “[t]he event has become an informal communication

19   channel between the cartel and fast-growing shale producers.” 51

20          87.     Once again, U.S. shale oil executives—including at least Defendant Diamondback’s CEO

21   Travis Stice, Defendant Centennial’s CEO Mark Papa, and Defendant Occidental’s CEO Vicki Hollub—

22

23   46
        Id; https://www.reuters.com/article/us-oil-opec/opec-agrees-modest-hike-in-oil-supply-after-saudi-
     and-iran-compromise-idUSKBN1JI0OG/ (last accessed 1/25/24).
24   47
        https://www.reuters.com/article/uk-davos-meeting-opec-usa-idUKKCN1PH1TG/ (last accessed
25   1/25/24).
     48
        https://www.cnbc.com/2019/01/23/trump-blasted-opec-hess-ceo-says-the-group-deserves-praise.html
26   (last accessed 1/25/24).
     49
        https://www.reuters.com/article/us-oil-opec-survey-idUSKCN1VK1YD/ (last accessed 1/25/24).
27   50
        https://www.reuters.com/article/idUSL1N1YC20I/ (last accessed 1/25/24).
     51
        https://www.bloomberg.com/news/articles/2019-03-11/venezuelan-oil-output-is-plunging-iea-says-
28   ceraweek-update (last accessed 1/25/24).

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          Case 1:24-cv-00855-MLG-LF           Document 1       Filed 01/29/24      Page 21 of 57




 1   met with OPEC’s Secretary General Barkindo for a dinner meeting during that CERAWeek conference. 52

 2   Barkindo described the dinner as a “friendly conversation on current industry issues and the immediate

 3   prospects and challenges for all,” while Stice told reports that OPEC and Defendants had “a very good

 4   session” which included “open dialogue on some of the things that are going on in the U.S. shale

 5   revolution, U.S. oil production and the associated balance of what’s going on in our industry.” 53

 6          E.      2021: Defendants Agree to Cut Production of Shale Oil.
 7          88.     Despite the increase in communications and information exchanges, it is not clear when

 8   precisely Defendants began coordinating output in conjunction with OPEC. Through the end of 2018, it
 9   at least ostensibly appears as if Defendants were not ready to slow their growth and cut back production.
10   Figure 3: Change in Crude Oil Production (2014 – 2019) 54
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     52
26      https://www.bloomberg.com/news/articles/2019-03-11/opec-to-break-bread-with-shale-rivals-in-
     houston-for-3rd-year (last accessed 1/25/24).
27   53
        Id.
     54
        https://www.wsj.com/articles/opec-vs-shale-the-battle-for-oil-price-supremacy-11555588826 (last
28   accessed 1/25/24).

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          Case 1:24-cv-00855-MLG-LF             Document 1       Filed 01/29/24      Page 22 of 57




 1          89.      According to industry analyst projections, 2019 would bring “[t]he second wave of the

 2   U.S. Shale revolution,” which should have been “concerning for OPEC” because “U.S. oil output [wa]s

 3   expected to grow by 1.4. million barrels a day [in 2019], to average 12.4 million barrels a day.” 55 But

 4   that second wave never came.

 5          90.      In 2020, COVID-19 lockdowns drove demand for crude oil down to never-seen-before

 6   lows. Following months of economic turmoil, in July 2020, OPEC’s Secretary General communicated

 7   clearly and unequivocally that OPEC could inflate and sustain crude prices if Defendants cooperated:

 8                We were able to reach out to the U.S. independents and we had established a line of
                  communication with them. We have reached some level of comfort among
 9                ourselves. They have been participating also at their own levels to ensure that this
                  conversation is inclusive and is led by the biggest producers. There is no objective
10                whatsoever from us as a group or as individual countries to drive U.S. shale
                  production out of business. Everybody has a role to play. We are very much
11                appreciative of the support and the cooperation we are getting from the U.S. both at
                  the level of policymakers as well as from industry. 56
12

13          91.      On November 28, 2020, Defendant EOG’s CEO Bill Thomas signaled the industry’s
14   willingness to follow OPEC’s lead on pricing and not to respond by increasing production:
15                In the future, certainly we believe OPEC will be the swing producer—really, totally
                  in control of oil prices.
16
                  We don’t want to put OPEC in a situation where they feel threatened, like we’re
17                taking market share while they’re propping up oil prices. 57
18          92.      In early 2021, as the world began slowly emerging from the pandemic, demand for crude

19   oil surged, causing prices to rise to nearly $70/barrel in March 2021. To prop up prices even higher,

20   OPEC and OPEC+ countries purposely and collectively withheld production of crude oil. 58

21          93.      Defendants stayed true to their word and responded by also withholding production.

22   Suddenly and nearly in unison they not only slowed down their own production, but began making public

23   statements touting the need for supply “discipline.” Throughout 2021, Defendants consistently signaled

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     55
25      Id.
     56
        https://www.ogj.com/general-interest/article/14179258/opec-secretary-general-no-objective-to-drive-
26   us-shale-out-of-business (last accessed 1/25/24).
     57
        https://www.bloomberg.com/news/articles/2020-11-28/the-pandemic-has-broken-shale-and-left-oil-
27   markets-in-opec-hands (last accessed 1/25/24).
     58
        https://www.cnn.com/2021/03/04/investing/opec-oil-prices-saudi-russia/index.html (last accessed
28   1/25/24).

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          Case 1:24-cv-00855-MLG-LF            Document 1      Filed 01/29/24     Page 23 of 57




 1   to each other and to OPEC that they were no longer competing for market share and would not act as

 2   swing producers:

 3                 (a) February 2021: Defendant Chesapeake’s CEO Doug Lawler announced that

 4                      U.S. shale oil producers were entering a “new era” of shale production that

 5                      “requires a different mindset” of “more discipline and responsibility.”59

 6                      Defendant Pioneer’s CEO Scott Sheffield agreed and predicted that small

 7                      companies—i.e., those not included in discussions with OPEC—would

 8                      increase output to meet rising prices, but that major producers would not
 9                      such that, in the aggregate, U.S. output would “remain flat to 1% higher”
10                      even if crude prices exceeded $60 per barrel, a level at which a market
11                      observer noted “any oil production is profitable, especially the relatively
12                      high-cost U.S. shale patch.” 60
13                 (b) March 2021: On the same day OPEC publicly announced it would be

14                      restricting supply, Defendant Occidental’s CEO Vicki Hollub said that

15                      despite a “healthier supply and demand environment” and a “V-shaped”

16                      post-pandemic recovery, U.S. oil production would not resume to pre-

17                      pandemic levels because Defendants and other U.S. shale oil producers

18                      were now “committed to value growth, rather than production growth.” 61

19                 (c) April 2021: Defendant Pioneer’s CEO Scott Sheffield signals his company

20                      and other U.S. producers would not meet rising prices by increasing supply:

21                      “OPEC and Russia were upset that we grew too much,” he said. 62 “If we

22                      ever start growing again too much, we’re going to have another price

23                      war.” 63 That was why he was “totally against” an EIA forecast that

24   59
        https://www.reuters.com/business/energy/opec-us-oil-firms-expect-subdued-shale-rebound-even-
25   crude-prices-rise-2021-02-22/ (last accessed 1/25/24).
     60
        Id.
     61
26      https://www.cnbc.com/2021/03/04/us-oil-production-wont-return-to-pre-pandemic-levels-occidental-
     ceo.html (last accessed 1/25/24).
27   62
        https://www.rigzone.com/news/wire/pioneer_chief_warns_of_opec_price_war_risk-14-apr-2021-
     165162-article/ (last accessed 1/25/24).
28   63
        Id.

                                                          23
          Case 1:24-cv-00855-MLG-LF            Document 1        Filed 01/29/24      Page 24 of 57




 1                     predicted substantial production growth, because “producers now know the

 2                     stakes and will stick to their mantra of capital discipline.” 64

 3                 (d) June 2021: In an interview with Reuters, Defendant Pioneer’s CEO Scott

 4                     Sheffield said that he was “confident the producers will not respond” the

 5                     high crude oil prices by increasing production because they were focused

 6                     on “shareholder returns.” 65 It was further reported that “[i]n the United

 7                     States, closely held companies have contributed substantially to rig

 8                     additions this year, but Sheffield said those smaller firms should not drive
 9                     up volumes enough to ruffle OPEC+ producers.” 66
10                 (e) August 2021: On an earnings call, Defendant EOG’s President and CEO

11                     Bill Thomas—echoing Defendant Chesapeake’s CEO Lawler’s language

12                     from earlier in the year, referenced a “new era” of collaboration in the global

13                     crude oil market with a “more positive macro environment than we’ve been

14                     in since really the shale business started. I think OPEC+ is solid. I think the

15                     U.S. will remain disciplines. And so, I think the industry is in for a long run

16                     of really good results.” 67

17                 (f) October 2021: Defendant Pioneer’s CEO Scott Sheffield said U.S.

18                     producers were not willing to increase supply to curb soaring crude oil

19                     prices that were “under OPEC control,” reflecting Defendants’ production

20                     restraint   agreement. 68     Sheffield   reaffirmed    Defendant    Pioneer’s

21                     commitment to the conspiracy, promising to cap any Pioneer output

22                     increase at 5% per year regardless of the price of crude oil, explaining

23

24
     64
25      Id.
     65
        https://www.reuters.com/business/energy/us-shale-industry-tempers-output-even-oil-price-jumps-
26   2021-06-28/ (last accessed 1/25/24).
     66
        Id.
27   67
        https://www.fool.com/earnings/call-transcripts/2021/08/05/eog-resources-eog-q2-2021-earnings-call-
     transcript/ (last accessed 1/25/24).
28   68
        https://www.ft.com/content/c21eb656-8d09-45ce-a13a-7d8419426b05 (last accessed 1/25/24).

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          Case 1:24-cv-00855-MLG-LF          Document 1        Filed 01/29/24        Page 25 of 57




 1                     “everybody’s going to be disciplined, regardless whether it’s $75 Brent, $80

 2                     Brent, or $100 Brent.” 69

 3          94.    Considering that breakeven prices for U.S. shale oil production at that time were

 4   approximately $40 per barrel, Defendants’ “discipline” and “restraint” raised eyebrows amongst industry

 5   analysts:

 6                 (a) January 2021: Reuters reports that “U.S. shale producers are keeping their

 7                     pledges to hold the line on spending and keep output flat, a departure from

 8                     previous boom cycles.” 70 The reporter noted that the recent “run up in crude
 9                     prices, and oil output curbs imposed by the OPEC+ producers group,
10                     historically would have triggered a drilling boom.” 71
11                 (b) June 2021: A Reuters columnist notes that “U.S. shale producers have

12                     normally captured market share from OPEC+ whenever prices have been

13                     above $55-60 per barrel.” 72 However, Defendants’ output restraints have

14                     “emboldened OPEC+ to maintain its own output curbs, temporarily

15                     removing the threat of lost market share and accelerating the upward

16                     pressure on prices. Shale producers have publicly reiterated their new

17                     commitment to output restraint in interviews as well as calls with analysts

18                     and investors.” 73 The author further notes that “there is a broad consensus

19                     among OPEC+ countries and the U.S. shale industry on the need for slower

20                     output growth, higher prices, and wider profit margins.” 74

21                 (c) February 2022: On Defendant Chesapeake’s Q4 2021 earnings call, Bank

22                     of America Managing Director and Head of U.S. Oil and Gas challenged

23                     Defendant Chesapeake’s CEO regarding its plans to slow production,

24   69
        Id.
     70
25      https://www.reuters.com/business/energy/us-shale-industry-tempers-output-even-oil-price-jumps-
     2021-06-28/ (last accessed 1/25/24).
     71
26      Id.
     72
        https://www.reuters.com/business/energy/us-shale-restraint-pushes-oil-prices-multi-year-high-kemp-
27   2021-06-04/ (last accessed 1/25/24).
     73
        Id.
28   74
        Id.

                                                         25
          Case 1:24-cv-00855-MLG-LF            Document 1        Filed 01/29/24      Page 26 of 57




 1                      calling it “the easiest way to destroy value” for the company in the long

 2                      term.” 75

 3          95.     But OPEC knew precisely what was happening. In early 2021, OPEC “predicted” a

 4   significant annual drop in U.S. shale production and Reuters reported that anonymous OPEC sources

 5   confirmed “[t]he lack of a shale rebound could make it easier for OPEC and its allies to manage the

 6   market.” 76 OPEC Secretary General Barkindo similarly signaled that the price war was over, stating:

 7   “U.S. shale is an important stakeholder in our global efforts to restore balance to the oil market” and that

 8   independents and OPEC “have a shared responsibility in this regard.” 77
 9
            F.      2022-2023: Defendants, Again Contrary to Their Unilateral Self Interest, Continue
10                  to Refuse to Increase Supply and Capture Market Share.
11          96.     In 2022, following Russia’s invasion of Ukraine, crude oil prices surged dramatically.
12   Unlike the dramatic drop in demand caused by the COVID-19 pandemic, this was a supply-side
13   phenomenon precipitated by a sudden decrease in the volume of available oil in the U.S. market as a
14   result of both supply chain disruptions and Russia’s oil production being unavailable to the world market.
15          97.     By the middle of that year, the price of oil rose above $120 per barrel—an amount nearly
16   four times larger than the low water mark reached during the OPEC Price War in 2016.
17          98.     In response to the possibility that higher prices might recede, OPEC further cut production
18   even further, including cuts in October 2022 of two million barrels per day. OPEC announced these cuts

19   just as crude oil prices began to normalize, indicating that they were designed to “stabilize the recent fall

20   in global energy prices.” 78

21          99.     Despite the fact that 2022 saw record high prices that remained high throughout 2023,

22   Defendants continued to act against their rational economic self-interest by withholding production:

23

24
     75
25      https://seekingalpha.com/article/4489980-chesapeake-energy-corporation-chk-ceo-nick-dellosso-on-
     q4-2021-results-earnings-call (last accessed 1/25/24).
     76
26      https://www.reuters.com/business/energy/opec-us-oil-firms-expect-subdued-shale-rebound-even-
     crude-prices-rise-2021-02-22/ (last accessed 1/25/24).
27   77
        Id.
     78
        https://www.washingtonpost.com/business/2022/10/05/opec-plus-oil-cut-russia-saudi-arabia/ (last
28   accessed 1/25/24).

                                                           26
          Case 1:24-cv-00855-MLG-LF          Document 1         Filed 01/29/24      Page 27 of 57




 1                 (a) February 2022: While the massing of Russian troops on Ukraine’s borders

 2                    was making headlines, Defendant Pioneer’s CEO Scott Sheffield publicly

 3                    states: In regards to the industry, it’s been interesting watching some of the

 4                    announcements so far, the public[ly listed] independents are staying in

 5                    line,” and “I’m confident they will continue to stay in line.” 79 He tells one

 6                    reporter during an interview on Bloomberg television: “Whether it’s $150

 7                    oil, $200 oil, or $100 oil, we’re not going to change our growth plans.” 80

 8                 (b) February 2022: That same week, Defendant Continental’s CEO Bill Berry
 9                    says on the company’s Q4 earnings call that “[w]e project generating flat to
10                    5% annual production growth over the next five years as we have previously
11                    noted.” 81
12                 (c) February 2022: Bloomberg reports that “[Defendant]EOG Resources Inc.

13                    plans to restrain oil growth despite surging prices, falling into line with most

14                    other major U.S. independent shale producers…like [Defendant] Pioneer

15                    National Resources and [Defendant] Continental Resources[, what] are also

16                    limiting increases to 5% this year.” 82

17                 (d) March 2022: Defendant Occidental’s CEO Vicki Hollub touts its “huge

18                    inventory of high-quality investments” but further states that the company

19                    is not acting on those investments because it is “instead focused on

20                    maintaining high profits.” 83

21                 (e) August 2022: During an earnings call, Defendant EOG states that even

22                    though the economic conditions are ripe for a production increase the

23

24   79
        https://oilprice.com/Energy/Energy-General/Not-Even-200-Oil-Will-Make-Shale-Giants-Drill-
25   Aggressively.html (last accessed 1/25/24).
     80
        Id.
     81
26      Id.
     82
        https://www.bloomberg.com/news/articles/2022-02-24/eog-holds-back-oil-production-growth-in-line-
27   with-shale-peers (last accessed 1/25/24).
     83
        https://www.cnbc.com/2022/03/08/oil-producers-in-a-dire-situation-and-unable-to-ramp-output-says-
28   oxy-ceo.html (last accessed 1/25/24).

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          Case 1:24-cv-00855-MLG-LF            Document 1        Filed 01/29/24      Page 28 of 57




 1                      company intends to limit its 2023 production growth to “low single digits”

 2                      because it is “committed to remaining disciplined.” 84

 3                  (f) January 2023: Defendant Pioneer’s Scott Sheffield states that the

 4                      “aggressive growth era of US shale is over” and that Defendant Pioneer and

 5                      the other Defendants are “no longer a swing producer.” 85

 6                  (g) February 2023: Defendant Diamondback’s CEO Travis Stice asserts, “we

 7                      have no reason to put growth before returns…we will continue to be

 8                      disciplined.” 86
 9                  (h) March 2023: When asked in an interview why Occidental was not using its
10                      profits to “drill more wells” and “bring down prices,” Defendant
11                      Occidental’s CEO Vicki Hollub replies that “prices are in a good place right
12                      now” and that Occidental has no intention of increasing production to meet
13                      global demand and lower U.S. gas prices, despite having the ability to
14                      profitably increase production.” 87
15          100.    Within this context of high crude prices and ever-lowering breakeven prices for

16   Defendants, industry journalists and analysts continued to express their disbelief that Defendants refused

17   to compete for market share:

18                  (a) February 2022: According to the Washington Post, the crude oil price

19                      increases following Russia’s invasion of Ukraine are a “clear signal to raise

20                      [shale oil] production; we’re talking Bat-signal clarity here.” 88

21                  (b) February 2022: A Bloomberg article asks why Defendant EOG wouldn’t

22                      “take advantage of higher prices by pumping more crude from its shale

23
     84
        https://www.reuters.com/business/energy/us-shale-producer-eog-maintain-low-single-digit-oil-output-
24   2022-08-05/ (last accessed 1/25/24).
     85
25      https://www.ft.com/content/60747b3b-e6ea-47c0-938d-af515816d0f1 (last accessed 1/25/24).
     86
        https://www.ogj.com/drilling-production/article/14234465/diamondback-to-keep-production-flat-
26   invest-175b-in-22 (last accessed 1/25/24).
     87
        https://www.cnbc.com/2023/03/09/us-wont-reach-new-record-oil-production-ever-again-pioneer-
27   ceo.html (last accessed 1/25/24).
     88
        https://www.bloomberg.com/opinion/articles/2022-02-28/shale-companies-say-they-can-t-drill-more-
28   even-when-there-s-a-war (last accessed 1/25/24).

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          Case 1:24-cv-00855-MLG-LF             Document 1       Filed 01/29/24       Page 29 of 57




 1                       fields,” and notes that EOG “plan[ned] to restrain oil growth this yar despite

 2                       surging prices, falling into line with most other major U.S. independent

 3                       shale producers.” 89

 4                 (c) March 2022: A CNBC anchor observes: “I know we keep hearing about this

 5                       key code word from all the oil companies right now that they are

 6                       ‘disciplined,’ but when you see oil north of 120 dollars a barrel, I mean it’s

 7                       one thing to be disciplined, it’s another thing to miss an opportunity.” 90

 8                 (d) April 2023: Following additional production reductions by OPEC,
 9                       Bloomberg reports that the U.S. shale industry does not plan to “break a
10                       three-year trend” by increasing production in response to rising oil prices,
11                       and will not “rescue” U.S. consumers from high gas prices, despite being
12                       “flush with case after record profits,” because, according to one industry
13                       expert, “OPEC and shale are much more on the same team now, with supply
14                       discipline on both sides” which “really puts a floor under the price of oil
15                       long term.” 91
16          101.   Throughout 2022 and 2023, Defendants and OPEC continued to meet and communicate

17   with one another.

18                 (a) March 2022: Defendants again meet with OPE during CERAWeek in

19                       Houston, Texas. As observed by Reuters, Defendants and OPEC had “found

20                       themselves on similar sides as oil prices have surged well above $100 a

21                       barrel: no rush to rapidly boost production.” 92

22                 (b) March 2023: FT reports that U.S. shale executives, including at least

23                       Defendant Pioneer’s Scott Sheffield, Defendant Chesapeake’s Nick

24   89
        https://www.bloomberg.com/news/articles/2022-02-24/eog-holds-back-oil-production-growth-in-line-
25   with-shale-peers (last accessed 1/25/24).
     90
        https://www.cnbc.com/2022/03/08/oil-producers-in-a-dire-situation-and-unable-to-ramp-output-says-
26   oxy-ceo.html (last accessed 1/25/24).
     91
        https://www.bnnbloomberg.ca/don-t-expect-us-shale-to-quickly-fill-the-gap-left-by-opec-cut-
27   1.1903965 (last accessed 1/25/24).
     92
        https://www.reuters.com/business/energy/ceraweek-oil-prices-soar-us-shale-opec-no-rush-resume-
28   price-war-2022-03-10/ (last accessed 1/25/24).

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          Case 1:24-cv-00855-MLG-LF            Document 1       Filed 01/29/24     Page 30 of 57




 1                      Dell’Osso, Defendant Diamondback’s Travis Stice, Defendant Occidental’s

 2                      Vicki Hollub, and Defendant Hess’s John Hess met with OPEC Secretary

 3                      General-elect Haitham Al Ghais for a private sinner in a Houston restaurant

 4                      wherein the attendees reaffirmed their agreement to restrict production,

 5                      “[d]espite recent record profits.” 93

 6           102.   In case there was any room for doubt, Defendants made it abundantly clear in early 2023

 7   that they were coordinating with OPEC.

 8           103.   On January 5, 2023, Defendant Pioneer’s CEO Scott Sheffield claimed that “OPEC
 9   ministers are frustrated over the recent price fall,” later predicting that upcoming production was “going
10   to change… . If [price] stays too low, it wouldn’t surprise me if [OPEC] ha[s] another cut… . [W]e’ll see
11   that happens in the next 90 days.” 94 A little less than three months later, OPEC “shocked traders around
12   the world” by announcing a “surprise” production cut whereas OPEC “had been largely expected to stick

13   to its already agreed 2m bpd cuts.” 95

14           104.   On March 27, 2023, in between Sheffield’s prediction and OPEC’s surprise

15   announcement, it was reported that some Defendants—including at least Defendant Pioneer and

16   Defendant EOG—had pulled back hedge positions they had previously taken to protect downward oil

17   price movements, leaving those Defendants “suddenly vulnerable” and exposing them to massive

18   financial risk if oil prices declined. 96 Defendant Pioneer’s CEO Sheffield doubled-down stating “we’re

19   not going to hedge” and proclaiming he was “optimistic that we’ll see $100 a barrel before the end of the

20   year.” 97

21           105.   In light of OPEC’s surprise announcement less than a week later, the only plausible and

22   reasonable explanation for Defendants’ failure to hedge is that they had advance notice of OPEC’s

23   intentions to cut crude oil production.

24
     93
25      https://www.ft.com/content/f1674a6e-39ae-4abb-ae2a-40fefb58d6b9 (last accessed 1/25/24).
     94
        https://www.bloomberg.com/news/articles/2023-04-04/one-shale-executive-correctly-called-opec-s-
26   surprise-output-cut (last accessed 1/25/24).
     95
        https://www.theguardian.com/business/2023/apr/02/opec-announces-surprise-cuts-in-oil-production-
27   of-about-115-mbpd (last accessed 1/25/24).
     96
        https://www.ft.com/content/c3baf69f-41fc-42ea-b13a-5ef6f546e143 (last accessed 1/25/24).
28   97
        Id.

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          Case 1:24-cv-00855-MLG-LF           Document 1       Filed 01/29/24      Page 31 of 57




 1          106.    In April 2023, one energy industry analyst aptly summarized the impact of Defendants’

 2   agreement to constrain crude oil production:

 3               In its early days, shale behaved like a dimmer, with output growth accelerating
                 proportionally as oil prices were dialed up. That ability to respond quickly to the
 4               market was due to the speed at which shale wells could be developed: a few months
                 compared to the years or decades of Big Oil projects. Today, shale is as responsive
 5               as in the past. But there’s a difference. The dimmer appears to be capped at a
                 certain level: No matter how high oil prices go above that level – say $100 a
 6               barrel – the industry will no longer add rigs to sop up market share. Rather, it
                 will stay put and go into harvest mode with existing wells – that’s exactly what
 7               happened in 2022, much to the consternation of the White House, which urged shale
                 companies to drill more. 98
 8
            107.    As demonstrated by Defendants’ prior role as swing producers, Defendants were capable
 9
     of increasing crude oil production and growing their market share; they simply chose not to. Why they
10
     made that choice can only be explained by the existence of the conspiracy alleged herein.
11
            108.    Defendants’ agreement to constrain U.S. shale oil production achieved is intended and
12
     desired effect—i.e., artificially inflating domestic crude oil prices and the enjoyment of massive revenue
13
     increases without the need to invest in new production or otherwise increase supply.
14
            G.      Defendants’ “Restraint” Is Economically Irrational Absent Collusion.
15
            109.    Defendants employed a variety of terms and phrases which they employed as code to
16
     disguise their mutual agreement to coordinate and restrain domestic shale oil production—“disciplined,”
17
     focus on “value growth,” or “staying in line,” or operating for “shareholder returns.” Defendants’
18
     repeated public confirmation of their production discipline revealed that they each in fact had additional
19
     production capacity that they simply chose to leave untouched.
20
            110.    In a competitive market, when prices are higher than a firm’s marginal costs, the firm will
21
     increases its supply to the point where the market price equals the marginal cost of producing an
22
     additional unit of supply (accounting for an economic profit). With oil prices far above each Defendant’s
23
     “break-even” point, each Defendant had enormous incentives to pursue additional production because,
24
     in a competitive market, firms that decline profitable opportunities lose them to competitors.
25

26

27
     98
       https://www.bloomberg.com/opinion/articles/2023-04-24/higher-oil-prices-means-wall-street-s-shale-
28   investments-will-finally-pay-off (last accessed 1/25/24).

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          Case 1:24-cv-00855-MLG-LF            Document 1        Filed 01/29/24      Page 32 of 57




 1          111.    In that situation, expanding production to take advantage of prices above your breakeven

 2   is the economically rational response. If you do not expand production, your competitor will, taking

 3   margin share and reinvesting their additional profits into further productive capacity and/or efficiency

 4   gains. Defendants taught OPEC this very lesson during the Shale Revolution and the ensuing OPEC Price

 5   War.

 6          112.    The only economically rational reason any Defendant would choose not to increase

 7   production is if that Defendant knew the others would also decline to increase production, and that

 8   enough of the crude oil market would exercise similar restraint that it would not significantly affect the
 9   Defendants’ market share. Individually, no U.S. shale oil producer had market power sufficient to
10   constrain overall U.S. shale oil outputs in any meaningful way, let alone global outputs. However,
11   together Defendants had substantial power in the U.S. market—especially with respect to the swing
12   production that mattered most to global prices. Together, the Defendants could substantially constrain
13   that portion of U.S. oil production most important to the global price of oil and, as a result, they could
14   exercise their power to negotiate cartel supply restrictions with OPEC and insure themselves against
15   competition from other major swing producers.
16          113.    In fact, the supermajors and many smaller independent producers did respond to these
17   individual incentives, though practical limitations on their ability to respond quickly limited their effect.
18   Supermajors have historically refrained from investing in fracking, viewing them as a smaller-scale

19   enterprise difficult to integrate into their very large-scale institutions. Yet in 2021 and 2022, directly

20   responding to U.S. shale producers’ “underinvesting as an industry,” the supermajors began investing in

21   shale at unprecedented rates.

22          114.    In 2022, both ExxonMobil and Chevron planned on increasing its production level in the

23   Permian Basin by 25% and 10%, respectively. Mid-way through 2022, Chevron anticipated a 15% year-

24   over-year increase in shale oil production compared to 2021.

25          115.    In May 2023, ExxonMobil CEO Darren Woods revealed that the company intended to use

26   new technologies aimed at doubling the volume of oil produced from U.S, shale holdings over a five-

27   year timeframe.

28


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          Case 1:24-cv-00855-MLG-LF            Document 1        Filed 01/29/24      Page 33 of 57




 1          116.    Smaller, private shale companies took advantage of the high prices and drilled furiously.

 2   Benefiting from the production gap left by Defendants, these smaller private producers “lead output gains

 3   during the highest [crude oil] prices in seven years.” 99 As one example, according to Reuters, “Tall City

 4   Exploration, a privately-backed Permian [basin] producer, added a second drilling rig . . . and is eying a

 5   three-fold increase” from 2021 in 2022 production. 100

 6          117.    But small shale oil producers are limited in how fast they can add supply and increase

 7   production because they lack economies of scale, have less capital, less access to limiting resources like

 8   drilling rigs, and are less able to scale up and operate multiple drilling projects simultaneously.
 9          118.    Compounding matters, Defendants are able to leverage their collective market share
10   because the U.S. shale oil industry is so highly fragmented: of the roughly 250 companies operating oil
11   rigs in the U.S., approximately 2/3 are operating just one oil rig.
12          119.    In addition, conventional oil production in the U.S. is largely fixed and cannot quickly
13   increase or decrease production in response to changing market dynamics in the short- to medium-term.
14          120.    When Defendants’ production and capacity are combined with that of the OPEC and
15   OPEC+ member countries, the resulting cartel formed by these entities controls approximately 60% of the
16   total global oil production and nearly all total global oil production capable of quickly responding to
17   sudden price variations on a short-term basis.
18
                                                 PLUS FACTORS
19

20          121.    In addition to Defendants’ and OPEC’s statements quoted above, the existence of the

21   conspiracy alleged herein is supported by “plus factors” that plausibly support the reasonable inference

22   that Defendants’ actions are the product of collusion and not pro-competitive, unilateral conduct.

23          122.    The U.S. shale oil industry is highly susceptible to collusion because:

24                  (a) it is highly fragmented, with a small number of larger producers with excess

25                      capacity and numerous smaller producers;

26

27   99
        https://www.reuters.com/business/energy/us-shale-oil-forecasts-keep-rising-smaller-producers-lead-
     way-2022-03-02/ (last accessed 1/25/24).
28   100
         Id.

                                                           33
          Case 1:24-cv-00855-MLG-LF               Document 1     Filed 01/29/24      Page 34 of 57




 1                   (b) there are significant opportunities to collude, coordinate supply restraints,

 2                       and police cheating as a result of the trade associations that Defendants

 3                       regularly participate in;

 4                   (c) shale oil is a commodity, thus facilitating price-fixing negotiations amongst

 5                       entities that would otherwise be competitors;

 6                   (d) shale oil’s downstream products, including HHO, are daily-use

 7                       commodities for which there are no reasonable substitutes and/or high

 8                       switching costs, leading to highly inelastic demand which enables producer
 9                       cartels to extract monopoly rents from consumers who are unable to avoid
10                       price increases; and
11                   (e) thanks to OPEC and OPEC+, the majority of the oil market is already
12                       explicitly cartelized.
13           123.    Defendants’ actions during the Class Period were against each of the Defendant’s unilateral
14   self-interest insofar as no rational economic actor facing the strong individual incentives to increase their
15   shale oil production and capture market share would forego such opportunities unless those actors knew
16   in advance that the other producers had already committed to similarly constrain production and create
17   artificially high price levels.
18           124.    In addition, Defendants’ decisions not to increase production were made in an environment

19   where Defendants regularly met with one another and with OPEC, wherein they discussed their

20   confidential business plans (including forward-looking production and capacity information) in a manner

21   that would be economically irrational absent the alleged conspiracy.

22
                                                  ANTITRUST INJURY
23
             A.      Defendants’ Conspiracy Has Inflated the Price of Crude Oil Throughout the Class
24                   Period.
25           125.    The effect of U.S. shale oil production on crude oil prices, and thus HHO prices, is widely

26   recognized by economists and market analysts. For example:

27                a) In a 2017 article in the ECB Economic Bulletin, economists Irma Alonso

28                   Álvarez and Virginia Di Nino concluded that “OPEC’s production decisions


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           Case 1:24-cv-00855-MLG-LF             Document 1     Filed 01/29/24      Page 35 of 57




 1                  during the shale oil age…have been particularly influenced by the evolving

 2                  supply conditions in the United States,” because U.S. shale oil increased global

 3                  crude oil supply. 101

 4              b) In a June 2019 Forbes article it was reported that “without the U.S. shale oil

 5                  boom, [crude] oil prices would have never dropped back below $100/bbl”

 6                  because, since 2008, “global oil production has increased by 11.6 million BPD”

 7                  while “U.S. oil production increased by 8.5 million BPD -- equal to 73.2% of

 8                  the global increase in production.” 102
 9              c) In an October 2019 report by the Executive Office of the President of the United
10                  States, Council of Economic Advisers, it was found that “[U.S.] Shale
11                  production has also reduced the global price of oil by 10 percent as of 2019.”103
12              d) In a June 2020 working paper by the Federal Reserve Bank of Dallas,

13                  economists Nathan S. Balke, Xin Jin, and Mine Yücel found “that if the shale

14                  revolution had not happened, the price of oil would have been 36% higher and

15                  global output 5.8% lower by the end of 2018.” 104

16              e) In a July 2023 article in the International Journal of Energy Economics and

17                  Policy, economist Maitham A. Rodhan wrote that “increases in US shale oil

18                  production had significant impacts domestically and internationally. … At the

19                  international level, it significantly increased oil supply, directly affecting the

20                  price of crude oil… .” 105

21           126.   Defendants wield this power over crude oil prices because of their roles as swing

22   producers in the global crude oil market—i.e., they have sufficient market power to dictate when the

23

24   101
         https://www.ecb.europa.eu/pub/pdf/other/ebart201708_01.en.pdf (last accessed 1/25/24).
     102
25       https://www.forbes.com/sites/rrapier/2019/06/23/the-u-s-accounted-for-98-of-global-oil-production-
     growth-in-2018/?sh=209c26df5125 (last accessed 1/25/24).
     103
26       https://trumpwhitehouse.archives.gov/wp-content/uploads/2019/10/The-Value-of-U.S.-Energy-
     Innovation-and-Policies-Supporting-the-Shale-Revolution.pdf (last accessed 1/25/24).
27   104
         https://www.dallasfed.org/-/media/documents/research/papers/2020/wp2021.pdf (last accessed
     1/25/24).
28   105
         https://econjournals.com/index.php/ijeep/article/view/14455/7412 (last accessed 1/25/24).

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           Case 1:24-cv-00855-MLG-LF            Document 1        Filed 01/29/24      Page 36 of 57




 1   United States can and will produce sufficient quantities of shale oil to “swing” the crude oil market and

 2   drive prices down.

 3           127.   Defendants openly acknowledge that they wield this power, although they publicly claim

 4   that they choose not to use it. In March 2022, the New York Times reported that, “[e]xecutives of several

 5   companies, including [Defendant] Pioneer Natural Resources . . . and [Defendant] Continental Resources,

 6   have said in recent days that they were committed to limiting production to avoid oversupplying the

 7   market and pushing down prices… .” 106

 8           128.   Since at least January 1, 2021, despite high crude oil prices and healthy global demand,
 9   Defendants have coordinated their production decisions, leading to lower growth rates than would
10   otherwise have been experienced in a market free from such anticompetitive forces.
11           129.   Despite shale oil production increases by some non-conspirators, Defendants’ production
12   restraints has dramatically impacted total U.S. shale oil production. In 2022, U.S. shale oil production
13   increased by 500,000 barrels, a benchmark 50% lower that some market analysts had estimated. 107
14           130.   The gap between the amount of U.S. shale oil that was actually produced and the amount

15   of U.S. shale oil that would have been produced but for Defendants’ conspiracy led to artificially inflated

16   prices for crude oil which, in turn (as discussed below), led to higher HHO prices paid by Plaintiffs and

17   the members of the Proposed Class.

18           B.     Defendants’ Conspiracy Has Inflated the Price of HHO Purchased by Plaintiffs and
                    the Members of the Proposed Classes.
19

20           131.   Most HHO is supplied by domestic refineries who send HHO to storage terminals for

21   distribution to consumers. 108 Transport is generally provided by rail or barge to larger storage facilities,

22   and from those larger storage facilities it is transported by truck to smaller storage tanks for sale to local

23   retail customers, who typically have their HHO delivered directly to their home. 109

24

25   106
         https://www.nytimes.com/2022/03/02/business/oil-prices-opec.html (last accessed 1/25/24).
     107
26       https://www.cnbc.com/2023/03/07/oxy-ceo-doesnt-seem-worried-about-politics-of-buybacks-gas-
     prices.html (last accessed 1/25/24).
27   108
         https://www.eia.gov/energyexplained/heating-oil/where-our-heating-oil-comes-from.php (last
     accessed 1/25/24).
28   109
         Id.

                                                            36
           Case 1:24-cv-00855-MLG-LF            Document 1       Filed 01/29/24      Page 37 of 57




 1           132.    According to the U.S. Energy Information Administration (“EIA”), “[n]early all of the

 2   heating oil consumed in the United States is produced from crude oil.” 110 Accordingly, the cost of crude

 3   oil accounts for just under half the average price of HHO and is one of the primary drivers of HHO

 4   prices. 111, 112 As noted by one website, “[h]eating oil is derived from crude oil, so the price of crude oil

 5   has a major effect on the price of heating oil.” 113

 6           133.    Not surprisingly, as demonstrated by the Figure 4 below, prices paid for HHO by

 7   consumers closely mirror the prices both for crude oil and gasoline sold in the United States.

 8   Figure 4: HHO vs. Gasoline vs. Crude Oil Spot Prices
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22           134.    As the above allegations demonstrate, the price of crude oil has a direct effect on the price

23   of HHO. This is because crude oil is the primary raw material used to produce the HHO sold throughout

24   the United States. As a result, Defendants’ conspiracy not only inflated the price of crude oil, it also

25
     110
26       https://www.eia.gov/energyexplained/heating-oil/ (last accessed 1/25/24).
     111
         https://www.eia.gov/energyexplained/heating-oil/prices-and-outlook.php (last accessed 1/25/24).
27   112
         https://www.eia.gov/energyexplained/heating-oil/factors-affecting-heating-oil-prices.php (last
     accessed 1/25/24).
28   113
         https://commodity.com/energy/heating-oil/ (last accessed 1/25/24).

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          Case 1:24-cv-00855-MLG-LF             Document 1        Filed 01/29/24       Page 38 of 57




 1   inflated the price of HHO sold in the United States during the Class Period, which in turn affected HHO

 2   purchasers like Plaintiffs and the members of the proposed Classes who purchased HHO at these

 3   artificially inflated prices.

 4                                      CLASS ACTION ALLEGATIONS

 5           135.    Plaintiffs bring this lawsuit under Federal Rules of Civil Procedure 23(a), (b)(1) and (b)(2)

 6   on behalf of themselves and as representatives of a class of indirect purchasers seeking injunctive relief

 7   (the “Nationwide Injunctive Relief Class”) defined as follows:

 8               All persons or entities who purchased home heating oil in the United States from
                 January 1, 2021 until the Defendants’ unlawful conduct and its anticompetitive
 9               effects cease to persist.
10           136.    In addition, Plaintiffs bring this lawsuit under Federal Rules of Civil Procedure 23(a) and
11   (b)(3) on behalf of themselves and all others similarly situated seeking damages as well as equitable
12   relief, on behalf of the following class (the “State Law Class”):
13               All persons or entities who purchased home heating oil in Alabama, Arizona,
                 California, Colorado, Connecticut, the District of Columbia, Florida, Hawaii,
14               Illinois, Iowa, Kansas, Maine, Maryland, Michigan, Minnesota, Mississippi,
                 Nebraska, Nevada, New Hampshire, New Mexico, New York, North Carolina,
15               North Dakota, Oregon, Rhode Island, South Dakota, Tennessee, Utah, and/or
                 Vermont from January 1, 2021 until the Defendants’ unlawful conduct and its
16               anticompetitive effects cease to persist.
17
             137.    Specifically excluded from both the Nationwide Injunctive Relief Class and the State Law
18
     Class are: Defendants; any of their officers, directors, or employees; any entity in which any Defendant
19
     has a controlling interest; any affiliate, legal representative, heir, or assign of any Defendant; any federal,
20
     state, or local governmental entities; any judicial officer presiding over this action and the members of
21
     his or her immediate family and judicial staff; any juror assigned to this action; and any co-conspirator
22
     identified in this action.
23
             138.    Plaintiffs reserve the right to modify these definitions and/or to propose subclasses, as
24
     appropriate, based on further investigation and discovery.
25
             139.    Numerosity. The members of the Nationwide Injunctive Relief Class and the State Law
26
     Class are so numerous that joinder of all members would be impracticable. The exact number of members
27
     in the Nationwide Injunctive Relief Class and the State Law Class is unknown to Plaintiffs at this time,
28


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          Case 1:24-cv-00855-MLG-LF             Document 1        Filed 01/29/24      Page 39 of 57




 1   but it is estimated to number in the millions. The members of the Nationwide Injunctive Relief Class and

 2   the State Law Class should be readily identifiable from existing records.

 3          140.      Typicality. Plaintiffs’ claims are typical of the claims of the members of the Nationwide

 4   Injunctive Relief Class and the State Law Class because they were all similarly affected by Defendants’

 5   unlawful conduct in that they paid artificially inflated prices for HHO sold in the United States, resulting

 6   from Defendants’ conspiracy to fix prices in the crude oil market.

 7          141.      Adequacy. Plaintiffs will fairly and adequately represent the interests of the members of

 8   the Nationwide Injunctive Relief Class and the State Law Class. Plaintiffs’ interests are coincident with,
 9   and not antagonistic to, those of the other class members. Plaintiffs are represented by attorneys
10   experienced in the prosecution of class action litigation generally, and in antitrust litigation specifically,
11   who will vigorously prosecute this action on behalf of the Nationwide Injunctive Relief Class and the
12   State Law Class.
13          142.      Common Questions of Law and Fact Predominate. Questions of law and fact common to
14   the members of the Nationwide Injunctive Relief Class and the State Law Class predominate over

15   questions that may affect only individual class members because Defendants have acted on grounds

16   generally applicable to all class members. Common issues of fact and law include, but are not limited to,

17   the following:

18                    (a) whether Defendants and their co-conspirators engaged in a combination or

19                       conspiracy to fix, raise, maintain, or stabilize the price of crude oil and/or

20                       HHO in the United States;

21                    (b) the duration of the conspiracy alleged herein and the acts performed by

22                       Defendants and their co-conspirators in furtherance of the conspiracy;

23                    (c) whether such combination or conspiracy violated the antitrust, unfair

24                       competition, and consumer protection laws of various states;

25                    (d) whether the conduct of Defendants and their co-conspirators, as alleged

26                       herein, caused injury to Plaintiffs and other members of the Nationwide

27                       Injunctive Relief Class or the State Law Class;

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          Case 1:24-cv-00855-MLG-LF             Document 1        Filed 01/29/24      Page 40 of 57




 1                   (e) whether Defendants caused Plaintiffs and the members of the Nationwide

 2                      Injunctive Relief Class and/or the State Law Class to suffer damages in the

 3                      form of overcharges on HHO;

 4                   (f) the effect of Defendants’ conspiracy on the HHO prices sold in the United

 5                      States during the Class Period;

 6                   (g) the appropriate measure of class-wide damages for both the Nationwide

 7                      Injunctive Relief Class and the State Law Class; and

 8                   (h) the nature of appropriate injunctive relief to restore competition int the U.S.
 9                      market for HHO.
10          143.     Superiority. A class action will permit numerous similarly situated persons to prosecute

11   their common claims in a single forum simultaneously, efficiently, and without unnecessary duplication

12   of evidence, effort, or expense. A class action will provide injured persons a method for obtaining redress

13   on claims that could not practicably be pursued individually. Moreover, the prosecution of separate

14   actions by individual members of the Nationwide Injunctive Relief Class or the State Law Class would

15   create a risk of inconsistent or varying adjudications, potentially establishing incompatible standards of

16   conduct for Defendants. Plaintiffs know of no manageability or other issue that would preclude

17   maintenance of this case as a class action.

18          144.     Injunctive relief. Defendants have acted or refused to act on grounds generally applicable

19   to the members of the Nationwide Injunctive Relief Class and the State Law Class, making injunctive

20   and corresponding declaratory relief appropriate with respect to these classes as a whole pursuant to

21   Federal Rule of Civil Procedure, Rule 23(b)(2).

22                                            CLAIMS FOR RELIEF
23          A.       VIOLATION OF THE SHERMAN ACT
24                                                 COUNT 1
                                        VIOLATION OF 15 U.S.C. § 1
25                            (On behalf of the Nationwide Injunctive Relief Class)
26          145.     Plaintiffs re-allege and incorporate by reference all the allegations above as if fully set

27   forth herein.

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          Case 1:24-cv-00855-MLG-LF             Document 1       Filed 01/29/24      Page 41 of 57




 1             146.   From at least January 1, 2021, and continuing through the present, the exact dates being

 2   unknown to Plaintiffs, Defendants and their co-conspirators entered into a continuing agreement,

 3   understanding, and conspiracy in restraint of trade artificially to fix, raise, and stabilize price for crude

 4   oil and HHO in the United States, including by restraining their respective production volumes, in

 5   violation of Section 1 of the Sherman Act (15 U.S.C. §1).

 6             147.   In formulating and carrying out the alleged agreement, understanding, and conspiracy,

 7   Defendants and their co-conspirators did those things that they combined and conspired to do, including

 8   but not limited to the acts, practices, and course of conduct set forth above, and the fixing, raising, and
 9   stabilizing of the price of crude oil and HHO.
10             148.   The combination and conspiracy alleged herein has had the following effects, among
11   others:
12                    (a) Price competition in the sale of crude oil has been restrained, suppressed,
13                        and/or eliminated in the United States;
14                    (b) Prices for crude oil sold by Defendants and all of their co-conspirators have
15                        been fixed, raised, maintained and stabilized at artificially high,
16                        noncompetitive levels throughout the United States; and
17                    (c) Those who purchased HHO indirectly from Defendants and their
18                        coconspirators have been deprived of the benefits of free and open

19                        competition, and paid artificially high prices for HHO.

20             149.   Plaintiffs and members of the Nationwide Injunctive Relief Class have been injured and

21   will continue to be injured in their businesses and property by paying more for HHO purchased indirectly

22   from the Defendants and their co-conspirators than they would have paid and will pay in the absence of

23   the combination and conspiracy.

24             150.   Plaintiffs and members of the Nationwide Injunctive Relief Class are entitled to an

25   injunction against Defendants, preventing and restraining the violations alleged herein.

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          Case 1:24-cv-00855-MLG-LF             Document 1         Filed 01/29/24      Page 42 of 57



             B.      VIOLATIONS OF STATE ANTITRUST, UNFAIR COMPETITION, AND
 1                   CONSUMER PROTECTION LAWS
 2           151.    Plaintiffs re-allege and incorporate by reference all the allegations above as if fully set

 3   forth herein.

 4           152.    During the Class Period, Defendants and their co-conspirators entered and engaged in a

 5   contract, combination, or conspiracy to fix, decrease, stabilize, or maintain at artificially low levels, the

 6   production of shale oil in various states to unreasonably restrain trade and commerce and harm consumers

 7   in violation of the various state antitrust and consumer protection laws set forth below.

 8           153.    In formulating and effectuating this conspiracy, Defendants and their co-conspirators
 9   performed acts in furtherance of the combination and conspiracy, including: agreeing to fix, decrease,
10   maintain, or stabilize shale oil production at artificially low levels, thereby raising, fixing, and stabilizing
11   crude oil prices, which injured Plaintiffs and members of the Classes; exchanging competitively sensitive
12   information between and among Defendants; and participating in meetings conversations among
13   themselves in the United States and elsewhere to implement, adhere to, and police the unlawful
14   agreements they reached.
15           154.    Defendants and their co-conspirators engaged in actions described above for the purpose
16   of carrying out their unlawful agreements to fix, increase, maintain, or stabilize crude oil prices at
17   artificially high levels. As a direct and proximate result of Defendants’ conduct, Plaintiffs and members
18   of the State Law Class were deprived of free and open competition and paid more to purchase HHO than

19   they otherwise would have in the absence of Defendants’ unlawful conduct. This injury is of the type

20   that the antitrust and consumer protection laws of the below states were designed to prevent and flows

21   from that which makes Defendants’ conduct unlawful.

22           155.    In addition, Defendants have profited significantly from the conspiracy. Defendants’

23   profits derived from their anticompetitive conduct and come at the expense of and to the detriment of

24   Plaintiffs and members of the Classes.

25           156.    Accordingly, Plaintiffs and the members of the State Law Class in each of the following

26   jurisdictions seek damages (including statutory damages where applicable), to be trebled or otherwise

27   increased as permitted by each particular jurisdiction’s law, injunction (where applicable), and costs of

28   suit, including reasonable attorneys’ fees, to the extent permitted by the following state laws.


                                                            42
          Case 1:24-cv-00855-MLG-LF              Document 1      Filed 01/29/24      Page 43 of 57




 1           157.    Defendants’ anticompetitive acts described above were knowing and willful and constitute

 2   violations of the following state antitrust, unfair competition, and consumer protection statutes.

 3           158.    In the Counts that follow, a reference to the “Class” is a reference to the State Law Class

 4   unless otherwise specified.

 5                                       COUNT 2: ALABAMA
              (On behalf of Members of the State Law Class That Purchased HHO in Alabama)
 6

 7           159.    Due to Defendants’ unlawful conduct, (1) competition for crude oil and HHO was

 8   restrained, suppressed, and eliminated within Alabama; (2) HHO prices in the State of Alabama were
 9   raised, fixed, maintained, stabilized at artificially high levels; and (3) individuals have been deprived of
10   free and open competition. Defendants’ agreement was an unlawful agreement to restrain trade in the
11   State of Alabama in violation of ALA. CODE §6-5-60 et seq. Defendants’ conspiracy substantially affected
12   Alabama commerce and accordingly, Plaintiffs and the members of the Class seek all forms of relief

13   available under ALA. CODE §6-5-60 et seq.

14                                     COUNTS 3 & 4: ARIZONA
              (On behalf of Members of the State Law Class That Purchased HHO in Arizona)
15

16           160.    Defendants’ conspiracies had the following effects: (1) price competition for crude oil and
17   HHO was restrained, suppressed, and eliminated throughout Arizona; (2) prices of HHO in the State of
18   Arizona were raised, fixed, maintained, stabilized at artificially high levels; and (3) individuals have been

19   deprived of free and open competition. During the Class Period, Defendants’ illegal conduct substantially

20   affected Arizona commerce.

21           161.    Defendants’ agreement was an unlawful agreement to restrain trade in the State of Arizona

22   in violation of ARIZ. REV. STAT. §44-1401 et seq. Accordingly, Plaintiffs and members of the Class seek

23   all forms of relief available under ARIZ. REV. STAT. §44-1401 et seq.

24           162.    Defendants have engaged in unfair competition or unfair or deceptive acts or practices in

25   violation of Ariz. Rev. Stat. Ann. §44-1521 et seq., and, accordingly, Plaintiffs and members of the Class

26   seek all relief available under that statute.

27

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                                                           43
          Case 1:24-cv-00855-MLG-LF             Document 1        Filed 01/29/24       Page 44 of 57



                                    COUNTS 5 & 6: CALIFORNIA
 1           (On behalf of Members of the State Law Class That Purchased HHO in California)
 2
             163.    Defendants’ conspiracies had the following effects: (1) price competition for crude oil and
 3
     HHO was restrained, suppressed, and eliminated throughout California; (2) HHO prices in the State of
 4
     California were raised, fixed, maintained, and stabilized at artificially high levels; and (3) individuals
 5
     have been deprived of free and open competition. During the Class Period, Defendants’ illegal conduct
 6
     substantially affected California commerce and consumers.
 7
             164.    Defendants have entered into an unlawful agreement in restraint of trade in
 8
     violation of CAL. BUS. & PROF. CODE §16700 et seq. During the Class Period, Defendants and their
 9
     co-conspirators entered into and engaged in a continuing unlawful trust in restraint of the trade and
10
     commerce. Each Defendant has acted in violation of CAL. BUS. & PROF. CODE §16720 to fix, reduce,
11
     stabilize, and maintain crude oil production. The violations of CAL. BUS. & PROF. CODE §16720
12
     consisted, without limitation, of a continuing unlawful trust and concert of action among Defendants
13
     and their co-conspirators, the substantial terms of which were to fix, reduce, maintain, and stabilize the
14
     production of domestic shale oil. For the purpose of forming and effectuating the unlawful trust,
15
     Defendants and their co-conspirators have done those things which they combined and conspired to do,
16
     including, but not limited to, the acts, practices, and course of conduct set forth above, and creating a
17
     price floor, fixing, raising, and stabilizing the price of crude oil and HHO. As a result of Defendants’
18
     violation of CAL. BUS. & PROF. CODE §16720, Plaintiffs and members of the Class seek treble
19
     damages and their cost of suit, including a reasonable attorneys’ fee, pursuant to CAL. BUS. & PROF.
20
     CODE §16750(a).
21
             165.    Defendants have engaged in unfair competition or unfair or deceptive acts or practices in
22
     violation of Cal. Bus. & Prof. Code §17200 et seq., and, accordingly, Plaintiffs and members of the
23
     Class seek all relief available under that statute.
24
                                     COUNTS 7 & 8: COLORADO
25           (On behalf of Members of the State Law Class That Purchased HHO in Colorado)
26
             166.    Defendants’ conspiracies had the following effects: (1) price competition for crude oil
27
     and HHO was restrained, suppressed, and eliminated throughout Colorado; (2) HHO prices in the State
28


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          Case 1:24-cv-00855-MLG-LF             Document 1       Filed 01/29/24      Page 45 of 57




 1   of Colorado were raised, fixed, maintained, and stabilized at artificially high levels; and (3) individuals

 2   have been deprived of free and open competition. During the Class Period, Defendants’ illegal conduct

 3   substantially affected Colorado commerce and consumers.

 4           167.    Defendants have violated Colo. Rev. Stat. §6-4-101 et seq. Accordingly, Plaintiffs and

 5   members of the Class seek all forms of relief available under violated Colo. Rev. Stat. §6-4-101, et seq.

 6           168.    Defendants have engaged in unfair competition or unfair or deceptive acts or practices in

 7   violation of Colo. Rev. Stat. §6-1-101 et seq. and, accordingly, Plaintiffs and members of the Class seek

 8   all relief available under that statute.
 9                                    COUNT 9: CONNECTICUT
            (On behalf of Members of the State Law Class That Purchased HHO in Connecticut)
10

11           169.    Defendants have entered into an unlawful agreement in restraint of trade in violation of
12   Conn. Gen. Stat. §35-24 et seq. Defendants’ combinations or conspiracies had the following effects: (1)
13   price competition for crude oil and HHO was restrained, suppressed, and eliminated throughout
14   Connecticut, and (2) HHO prices in the State of Connecticut were fixed, controlled, and maintained at
15   artificially high levels; and (3) individuals have been deprived of free and open competition. During the
16   Class Period, Defendants’ illegal conduct substantially affected Connecticut commerce. By reason of the
17   foregoing, Defendants have entered into agreements in restraint of trade in violation of Conn. Gen. Stat.
18   §35-24 et seq. Accordingly, Plaintiffs and members of the Class seek all forms of relief available under

19   Conn. Gen. Stat. §35-24 et seq

20
                           COUNTS 10 & 11: DISTRICT OF COLUMBIA
21     (On behalf of Members of the State Law Class That Purchased HHO in District of Columbia)
22           170.    Defendants’ combinations or conspiracies had the following effects: (1) price competition

23   for crude oil and HHO was restrained, suppressed, and eliminate throughout the District of Columbia; (2)

24   HHO prices were raised, fixed, maintained, and stabilized at artificially high levels throughout the District

25   of Columbia; and (3) Plaintiffs and members of the Class, including those who resided in the District of

26   Columbia and purchased HHO in the District of Columbia, paid supracompetitive, artificially inflated

27   prices for HHO. During the Class Period, Defendants’ illegal conduct substantially affected commerce in

28   the District of Columbia.


                                                           45
          Case 1:24-cv-00855-MLG-LF            Document 1       Filed 01/29/24      Page 46 of 57




 1           171.    Defendants have entered into agreements in restraint of trade in violation of D.C. CODE

 2   §28-4501 et seq. Accordingly, Plaintiffs and members of the Class seek all forms of relief available under

 3   D.C. CODE, §28-4501 et seq.

 4           172.    Defendants have engaged in unfair competition or unfair or deceptive acts or practices in

 5   violation of D.C. CODE, §28-3901 et seq., and, accordingly, Plaintiffs and members of the Class seek all

 6   relief available under that statute.

 7
                                      COUNTS 12 & 13: FLORIDA
 8             (On behalf of Members of the State Law Class That Purchased HHO in Florida)
 9           173.    Through their actions and actions of co-conspirators, crude oil and HHO prices in the State
10   of Florida were raised, fixed, maintained, and stabilized at artificially high level, thereby injuring
11   Plaintiffs and the Class. Throughout the Class Period, competition in the HHO market was restrained,
12   suppressed, and eliminated throughout Florida. Plaintiffs and members of the Class, including those who
13   purchased HHO in the State of Florida, paid supracompetitive, artificially inflated prices for HHO. During
14   the Class Period, Defendants’ illegal conduct substantially affected commerce in Florida.
15           174.    Defendants have violated the FLA. STAT. §542.15 et seq., through their anticompetitive
16   actions. Accordingly, Plaintiffs and members of the Class seek all forms of relief available under FLA.

17   STAT. §542.15 et seq.

18           175.    Defendants have engaged in unfair competition or unfair or deceptive acts or practices in

19   violation of Fla. Stat. §501.201 et seq., and, accordingly, Plaintiffs and members of the Class seek all

20   relief available under that statute.

21
                                          COUNT 14: HAWAII
22             (On behalf of Members of the State Law Class That Purchased HHO in Hawaii)
23           176.    Defendants have violated Haw. Rev. Stat. Ann. §480-1 et seq., through their actions.

24   See HAW. REV. STAT. §§480-4, 480-13. Through Defendants’ actions and the actions of their co-

25   conspirators, HHO prices in the State of Hawaii were raised, fixed, maintained, and stabilized at

26   artificially high levels, thereby injuring Plaintiffs and the Class. Throughout the Class Period, price

27   competition for crude oil and HHO was restrained, suppressed, and eliminated throughout the State of

28   Hawaii. Plaintiffs and members of the Class, including those who resided in the State of Hawaii and


                                                          46
           Case 1:24-cv-00855-MLG-LF           Document 1        Filed 01/29/24      Page 47 of 57




 1   purchased HHO in Hawaii, paid supracompetitive, artificially inflated prices for their HHO. During

 2   the   Class    Period,   Defendants’    illegal   conduct substantially affected commerce in Hawaii.

 3   Accordingly, Plaintiffs and members of the Class seek all forms of relief available under HAW. REV.

 4   STAT. ANN. §480-1 et seq.

 5
                                      COUNTS 15 & 16: ILLINOIS
 6             (On behalf of Members of the State Law Class That Purchased HHO in Illinois)
 7           177.    Defendants’ combinations or conspiracies had the following effects: (1) price competition

 8   in the crude oil and HHO markets was restrained, suppressed, and eliminated throughout the State of
 9   Illinois, and (2) HHO prices were raised, fixed, maintained, and stabilized at artificially high levels
10   throughout the State of Illinois. During the Class Period, Defendants’ illegal conduct substantially
11   affected Illinois commerce.
12           178.    Defendants have entered into agreements in restraint of trade in violation of 740 Ill. Comp.
13   Stat. 10/1 et seq. Accordingly, Plaintiffs and members of the Class seek all forms of relief available under
14   740 Ill. Comp. Stat. 10/1 et seq.
15           179.    Defendants have engaged in unfair competition or unfair or deceptive acts or practices in
16   violation of 815 Ill. Comp. Stat. 505/1 et seq, and 720 Ill. Comp. Stat. 295/1a, and, accordingly, Plaintiffs
17   and members of the Class seek all relief available under that statute
18
                                           COUNT 17: IOWA
19              (On behalf of Members of the State Law Class That Purchased HHO in Iowa)
20           180.    Defendants have entered into an unlawful agreement in restraint of trade in violation of

21   IOWA CODE §553.1 et seq. Defendants’ combinations or conspiracies had the following effects: (1) price

22   competition for crude oil and HHO was restrained, suppressed, and eliminated throughout the State of

23   Iowa, and (2) HHO prices were raised, fixed, maintained and stabilized at artificially high levels

24   throughout the State of Iowa. During the Class Period, Defendants’ illegal conduct substantially affected

25   Iowa commerce. By reason of the foregoing, Defendants have entered into agreements in restraint of trade

26   in violation of IOWA CODE §553.1 et seq. Accordingly, Plaintiffs and members of the Class seek all forms

27   of relief available under Iowa Code §553.1 et seq.

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                                                           47
            Case 1:24-cv-00855-MLG-LF           Document 1       Filed 01/29/24     Page 48 of 57



                                          COUNT 18: KANSAS
 1             (On behalf of Members of the State Law Class That Purchased HHO in Kansas)
 2            181.     Defendants have entered into an unlawful agreement in restraint of trade in violation of

 3   KAN. STAT. ANN. §50-101 et seq. Defendants’ combinations or conspiracies had the following effects:

 4   (1) price competition for crude oil and HHO was restrained, suppressed, and eliminated throughout the

 5   State of Kansas; (2) HHO prices in the State of Kansas were raised, fixed, maintained, and stabilized at

 6   artificially high levels; and (3) individuals have been deprived of free and open competition. During the

 7   Class Period, Defendants’ illegal conduct substantially affected Kansas commerce. Accordingly,

 8   Plaintiffs and members of the Class seek all forms of relief available under KAN. STAT. ANN. §50-101 et
 9   seq.
10
                                            COUNT 19: MAINE
11              (On behalf of Members of the State Law Class That Purchased HHO in Maine)
12            182.     Defendants have entered into an unlawful agreement in restraint of trade in violation of
13   ME. STAT. TIT. 10, §1101. Defendants’ combinations or conspiracies had the following effects: (1) price
14   competition for crude oil and HHO was restrained, suppressed, and eliminated throughout the State of

15   Maine; and (2) HHO prices in the State of Maine were raised, fixed, maintained, and stabilized at

16   artificially high levels. During the Class Period, Defendants’ illegal conduct substantially affected Maine

17   commerce. Accordingly, Plaintiffs and members of the Class seek all relief available under ME. STAT.

18   TIT. 10, §1104.

19
                                     COUNTS 20 & 21: MARYLAND
20            (On behalf of Members of the State Law Class That Purchased HHO in Maryland)
21            183.     Defendants’ combinations or conspiracies detrimentally affected the price competition in

22   the State of Maryland for crude oil and HHO by restraining, suppressing, and eliminating competition.

23   Further, Defendants’ unlawful conduct raised, fixed, maintained, and stabilized HHO prices in the State

24   of Maryland at artificially high levels. During the Class Period, Defendants’ illegal conduct substantially

25   affected Maryland commerce.

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          Case 1:24-cv-00855-MLG-LF              Document 1     Filed 01/29/24     Page 49 of 57



                                    COUNTS 22 & 23: MICHIGAN
 1           (On behalf of Members of the State Law Class That Purchased HHO in Michigan)
 2           184.    Defendants’ combinations or conspiracies had the following effects: (1) price competition

 3   for crude oil and HHO was restrained, suppressed, and eliminated throughout the State of Michigan, and

 4   (2) HHO prices were raised, fixed, maintained, and stabilized at artificially high levels throughout the

 5   State of Michigan. During the Class Period, Defendants’ illegal conduct substantially affected Michigan

 6   commerce.

 7           185.    Defendants have entered into an unlawful agreement in restraint of trade in violation of

 8   MICH.COMP. LAWS §445.771 et seq. Accordingly, Plaintiffs and members of the Class seek all relief
 9   available under MICH. COMP. LAWS §445.771 et seq.
10           186.    Defendants have engaged in unfair competition or unfair or deceptive acts or practices in

11   violation of Mich. Comp. Laws §445.903 et seq., and, accordingly, Plaintiffs and members of the Class

12   seek all relief available under that statute.

13
                                    COUNTS 24 & 25: MINNESOTA
14           (On behalf of Members of the State Law Class That Purchased HHO in Minnesota)
15           187.    Through their actions and actions of co-conspirators, HHO prices in the State of Minnesota

16   were raised, fixed, maintained, and stabilized at an artificially high level, thereby injuring Plaintiffs

17   and the Class. Throughout the Class Period, price competition in the markets for crude oil and HHO

18   was restrained, suppressed, and eliminated throughout the State of Minnesota. Plaintiffs and members

19   of the Class, including those who resided in the State of Minnesota and purchased HHO there, paid

20   supracompetitive, artificially inflated prices for HHO. During the Class Period, Defendants’ illegal

21   conduct substantially affected commerce in the State of Minnesota.

22           188.    Defendants have violated the MINN. STAT. §325D.49 et seq., through their

23   anticompetitive actions. Accordingly, Plaintiffs and members of the Class seek all forms of relief

24   available under MINN. STAT. §325D.49 et seq.

25           189.    Defendants have engaged in unfair competition or unfair or deceptive acts or practices

26   in violation Minn. Stat. Minn. Stat. §325d.43-48 et seq., and, accordingly, Plaintiffs and members of the

27   Class seek all relief available under that statute.

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          Case 1:24-cv-00855-MLG-LF             Document 1      Filed 01/29/24      Page 50 of 57



                                        COUNT 26: MISSISSIPPI
 1           (On behalf of Members of the State Law Class That Purchased HHO in Mississippi)
 2           190.    Defendants have entered into an unlawful agreement in restraint of trade in violation of

 3   MISS. CODE ANN. §75-21-1 et seq. See Miss. Code Ann. §75-57-63. Defendants’ combinations or

 4   conspiracies had the following effects: (1) price competition for crude oil and HHO was restrained,

 5   suppressed, and eliminated throughout the State of Mississippi, and (2) HHO prices were raised, fixed,

 6   maintained, and stabilized at artificially high levels throughout the State of Mississippi. During the Class

 7   Period, Defendants’ illegal conduct substantially affected the State of Mississippi commerce.

 8   Accordingly, Plaintiffs and members of the Class seek all relief available under MISS. CODE ANN. §75-
 9   21-1 et seq., and MISS. CODE ANN. §75-57-63.
10
                                    COUNTS 27 & 28: NEBRASKA
11           (On behalf of Members of the State Law Class That Purchased HHO in Nebraska)
12           191.    Defendants’ combinations or conspiracies had the following effects: (1) price

13   competition for crude oil and HHO was restrained, suppressed, and eliminated throughout the State of

14   Nebraska, and (2) HHO prices were raised, fixed, maintained, and stabilized at artificially high

15   levels throughout the State of Nebraska.        During the Class Period, Defendants’ illegal conduct

16   substantially affected the State of Nebraska commerce.

17           192.    Defendants restrained trade and commerce in the State of Nebraska by entering into an

18   unlawful agreement in violation of NEB. REV. STAT. §59-801 et seq. Accordingly, Plaintiffs and

19   members of the Class seek all relief available under NEB. REV. STAT. §59-801 et seq.

20           193.    Defendants have engaged in unfair competition or unfair or deceptive acts or practices

21   in violation of Neb. Rev. Stat. §59-1601 et seq., and, accordingly, Plaintiffs and members of the Class seek

22   all relief available under that statute.

23                                    COUNTS 29 & 30: NEVADA
               (On behalf of Members of the State Law Class That Purchased HHO in Nevada)
24

25           194.    Defendants’ conspiracies had the following effects: (1) price competition for crude oil and
26   HHO was restrained, suppressed, and eliminated throughout the State of Nevada; (2) HHO prices in the
27   State of Nevada were raised, fixed, maintained, stabilized at artificially high levels; and (3) individuals
28   have been deprived of free and open competition.


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          Case 1:24-cv-00855-MLG-LF             Document 1       Filed 01/29/24     Page 51 of 57




 1           195.    Defendants violated the Nev. Rev. Stat. Ann. §598A.210 et seq., by entering into unlawful

 2   agreement in restraint of trade in the State of Nevada. As a result of Defendants’ violation of Nev. Rev.

 3   Stat. Ann. §598A.210 et seq. Plaintiffs and members of the Class seek treble damages and their cost of

 4   suit, including a reasonable attorneys’ fee, pursuant to Nev. Rev. Stat. Ann. §598A.210.

 5           196.    Defendants have engaged in unfair competition or unfair or deceptive acts or practices in

 6   violation of Nev. Rev. Stat. §598.0903 et seq., and, accordingly, Plaintiffs and members of the Class seek

 7   all relief available under that statute.

 8                              COUNTS 31 & 32: NEW HAMPSHIRE
          (On behalf of Members of the State Law Class That Purchased HHO in New Hampshire)
 9

10           197.    Defendants’      combinations    or   conspiracies   detrimentally   affected   the   price

11   competition in the State of New Hampshire crude oil and HHO market by restraining, suppressing,

12   and eliminating competition. Further, Defendants’ unlawful conduct raised, fixed, maintained, and

13   stabilized HHO prices in the State of New Hampshire at artificially high levels. During the Class Period,

14   Defendants’ illegal conduct substantially affected the State of New Hampshire commerce.

15           198.    Defendants have entered into an unlawful agreement in restraint of trade in violation

16   of N.H. REV. STAT. ANN. §356:1 et seq. Accordingly, Plaintiffs and members of the Class seek all

17   relief available under N.H. REV. STAT. ANN. §356:1 et seq.

18           199.    Defendants have engaged in unfair competition or unfair or deceptive acts or practices

19   in violation of N.H. Rev. Stat. Ann. §358-A:1 et seq., and, accordingly, Plaintiffs and members of the

20   Class seek all relief available under that statute.

21                                 COUNTS 33 & 34: NEW MEXICO
            (On behalf of Members of the State Law Class That Purchased HHO in New Mexico)
22

23           200.    Defendants’ combinations or conspiracies detrimentally affected the price competition in
24   the State of New Mexico for crude oil and HHO by restraining, suppressing, and eliminating competition.
25   Further, Defendants’ unlawful conduct raised, fixed, maintained and stabilized HHO prices in the State
26   of New Mexico at artificially high levels. During the Class Period, Defendants’ illegal conduct
27   substantially affected commerce in the State of New Mexico.
28


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          Case 1:24-cv-00855-MLG-LF             Document 1     Filed 01/29/24     Page 52 of 57




 1           201.    Defendants violated the N.M. STAT.ANN. §57-1-1 et seq., by entering into unlawful

 2   agreement in restraint of trade in the State of New Mexico. Accordingly, Plaintiffs and Members of the

 3   Class seek all relief available under N.M. STAT. ANN. §57-1-1 et seq.

 4           202.    Defendants have engaged in unfair competition or unfair or deceptive acts or practices in

 5   violation of N.M. Stat. Ann. §57-12-1 et seq., and, accordingly, Plaintiffs and members of the Class seek

 6   all relief available under that statute.

 7
                                        COUNT 35: NEW YORK
 8           (On behalf of Members of the State Law Class That Purchased HHO in New York)
 9           203.    Defendants have entered into an unlawful agreement in restraint of trade in violation of

10   N.Y. GEN. BUS. LAW §340 et seq. Defendants’ combinations or conspiracies had the following effects:

11   (1) price competition in the markets for crude oil and HHO was restrained, suppressed, and eliminated

12   throughout the State of New York, and (2) HHO prices were raised, fixed, maintained, and stabilized at

13   artificially high levels throughout the State of New York. During the Class Period, Defendants’ illegal

14   conduct substantially affected the State of New York commerce. The conduct set forth above is a per se

15   violation of the Donnelly Act, N.Y. GEN. BUS. LAW §340 et seq. Accordingly, Plaintiffs and members of

16   the Class seek all relief available under N.Y. GEN. BUS. LAW §340 et seq.

17
                                   COUNT 36: NORTH CAROLINA
18        (On behalf of Members of the State Law Class That Purchased HHO in North Carolina)

19           204.    Defendants have entered into an unlawful agreement in restraint of trade in violation of

20   N.C. GEN. STAT. §75-1 et seq. Defendants’ combinations or conspiracies had the following effects: (1)

21   price competition in the markets for crude oil and HHO was restrained, suppressed, and eliminated

22   throughout the State of North Carolina, and (2) HHO prices were raised, fixed, maintained, and stabilized

23   at artificially high levels throughout the State of North Carolina. During the Class Period, Defendants’

24   illegal conduct substantially affected the State of North Carolina commerce. Accordingly, Plaintiffs and

25   members of the Class seek all relief available under N.C. GEN. STAT. §75-1 et seq.

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          Case 1:24-cv-00855-MLG-LF             Document 1       Filed 01/29/24      Page 53 of 57



                                     COUNT 37: NORTH DAKOTA
 1         (On behalf of Members of the State Law Class That Purchased HHO in North Dakota)
 2           205.    Defendants’ actions have violated the N.D. CENT. CODE §51-08.1-01 et seq. through their

 3   anticompetitive actions. Through their actions and actions of co-conspirators, HHO prices in the State of

 4   North Dakota were raised, fixed, maintained, and stabilized at artificially high level, thereby injuring

 5   Plaintiffs and the Class. Throughout the Class Period, price competition in the markets for crude oil and

 6   HHO was restrained, suppressed, and eliminated throughout the State of North Dakota. Plaintiffs and

 7   members of the Class, including those who resided in the State of North Dakota and purchased HHO

 8   there, paid supracompetitive, artificially inflated prices. During the Class Period, Defendants’ illegal
 9   conduct substantially affected commerce in the State of North Dakota. Accordingly, Plaintiffs and
10   members of the Class seek all forms of relief available under N.D. CENT. CODE §51-08.1-01 et seq.
11
                                      COUNTS 38 & 39: OREGON
12             (On behalf of Members of the State Law Class That Purchased HHO in Oregon)
13           206.    Defendants’ combinations or conspiracies had the following effects: (1) price competition

14   for crude oil and HHO was restrained, suppressed, and eliminated throughout the State of Oregon; (2)

15   HHO prices in the State of Oregon were raised, fixed, maintained, and stabilized at artificially high levels;

16   and (3) individuals have been deprived of free and open competition. During the Class Period,

17   Defendants’ illegal conduct substantially affected the State of Oregon commerce.

18           207.    Defendants have entered into an unlawful agreement in restraint of trade in violation of

19   OR. REV. STAT. §646.725 et seq. Accordingly, Plaintiffs and members of the Class seek all forms of relief

20   available under OR. REV. STAT. §646.725 et seq.

21           208.    Defendants have engaged in unfair competition or unfair or deceptive acts or practices in

22   violation of Or. Rev. Stat. §646.605 et seq., and, accordingly, Plaintiffs and members of the Class seek

23   all relief available under that statute.

24
                                  COUNT 40 & 41: RHODE ISLAND
25         (On behalf of Members of the State Law Class That Purchased HHO in Rhode Island)

26           209.    Defendants’ combinations or conspiracies detrimentally affected price competition in

27   the crude oil and HHO markets in the State of Rhode Island by restraining, suppressing, and eliminating

28   competition. Further, Defendants’ unlawful conduct raised, fixed, maintained, and stabilized HHO prices


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          Case 1:24-cv-00855-MLG-LF              Document 1      Filed 01/29/24      Page 54 of 57




 1   in the State of Rhode Island at artificially high levels. During the Class Period, Defendants’ illegal

 2   conduct substantially affected commerce in the State of Rhode Island.

 3           210.    Defendants have entered into an unlawful agreement in restraint of trade in violation of

 4   R.I. Gen. Laws §6-36-7 et seq. Accordingly, Plaintiffs and Members of the Class seek all relief available

 5   under R.I. Gen. Laws §6-36-7 et seq.

 6           211.    Defendants have engaged in unfair competition or unfair or deceptive acts or practices in

 7   violation of R.I. Gen. Laws §6-13.1-1, and, accordingly, Plaintiffs and members of the Class seek all

 8   relief available under that statute.
 9                               COUNTS 42 & 43: SOUTH DAKOTA
           (On behalf of Members of the State Law Class That Purchased HHO in South Dakota)
10

11           212.    Through their actions and actions of co-conspirators, HHO prices in the State of South
12   Dakota were raised, fixed, maintained, and stabilized at artificially high level, thereby injuring Plaintiffs
13   and the Class. Throughout the Class Period, price competition in the markets for crude oil and HHO was
14   restrained, suppressed, and eliminated throughout the State of South Dakota. During the Class Period,
15   Defendants’ illegal conduct substantially affected commerce in the State of South Dakota. Plaintiffs and
16   members of the Class, including those who resided in the State of South Dakota and purchased HHO
17   there, paid supracompetitive, artificially inflated prices for their HHO.
18           213.    Defendants have violated S.D. CODIFIED LAWS §37-1-3.1 et seq., through their

19   anticompetitive actions. Accordingly, Plaintiffs and members of the Class seek all forms of relief

20   available under S.D. CODIFIED LAWS §37-1-3.1 et seq.

21           214.    Defendants have engaged in unfair competition or unfair or deceptive acts or practices in

22   violation of S.D. Codified Laws §37-24-1 et seq., and, accordingly, Plaintiffs and members of the Class

23   seek all relief available under that statute.

24
                                        COUNT 44: TENNESSEE
25           (On behalf of Members of the State Law Class That Purchased HHO in Tennessee)
26           215.    Defendants have entered into an unlawful agreement in restraint of trade in violation of

27   TENN. CODE ANN. §47-25-101 et seq. Defendants’ combinations or conspiracies had the following

28   effects: (1) price competition for the sale of HHO, a tangible good, was restrained, suppressed, and


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          Case 1:24-cv-00855-MLG-LF            Document 1       Filed 01/29/24      Page 55 of 57




 1   eliminated throughout the State of Tennessee; (2) prices for HHO, a tangible good, in the State of

 2   Tennessee were raised, fixed, maintained, and stabilized at artificially high levels; and (3) individuals

 3   have been deprived of free and open competition. During the Class Period, Defendants’ illegal conduct

 4   substantially affected commerce in the State of Tennessee. Accordingly, Plaintiffs and members of the

 5   Class seek all forms of relief available under TENN. CODE ANN. §47-25-101 et seq.

 6                                         COUNT 45: UTAH
                (On behalf of Members of the State Law Class That Purchased HHO in Utah)
 7

 8          216.    Defendants violated the UTAH CODE ANN. §76-10-3101 et seq. by entering into unlawful
 9   agreement in restraint of trade in the State of Utah. Specifically, Defendants’ combinations or conspiracies
10   detrimentally affected price competition in the crude oil and HHO markets in the State of Utah by
11   restraining, suppressing, and eliminating competition. Further, Defendants’ unlawful conduct raised,
12   fixed, maintained, and stabilized HHO prices in Utah at artificially high levels. During the Class Period,
13   Defendants’ illegal conduct substantially affected commerce in the State of Utah. Accordingly, Plaintiffs
14   and Members of the Class seek all relief available under UTAH CODE ANN. §76-10-3101 et seq.
15                                      COUNT 46: VERMONT
             (On behalf of Members of the State Law Class That Purchased HHO in Vermont)
16

17          217.    Defendants combinations or conspiracies had the following effects: (1) price competition
18   for crude oil and HHO was restrained, suppressed, and eliminated throughout the State of Vermont; (2)

19   HHO prices in the State of Vermont were raised, fixed, maintained, and stabilized at artificially high

20   levels; and (3) individuals have been deprived of free and open competition. Defendants have entered into

21   an unlawful agreement in restraint of trade in violation of VT. STAT. ANN. TIT. 9, §2453 et seq. During

22   the Class Period, Defendants’ illegal conduct substantially affected commerce in the State of Vermont.

23   Accordingly, Plaintiffs and members of the Class seek all forms of relief available under VT. STAT. ANN.

24   TIT. 9, §2465 et seq.

25                                           PRAYER FOR RELIEF

26          WHEREFORE, Plaintiffs, individually and on behalf of the Nationwide Injunctive Relief Class

27   and State Law Class defined herein, respectfully request that this Court:

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          Case 1:24-cv-00855-MLG-LF             Document 1        Filed 01/29/24      Page 56 of 57




 1           A.       Certify this action as a class action pursuant to Rule 23 of the Federal Rules of Civil

 2   Procedure and appoint Plaintiffs and their attorneys to represent the Nationwide Injunctive Relief Class

 3   and State Law Class.

 4           B.       Adjudge and decree that the acts of Defendants are illegal and unlawful, including the

 5   agreement, contract, combination, or conspiracy, and acts done in furtherance thereof by Defendants and

 6   their co-conspirators be adjudged to have been a per se violation (or alternatively illegal as a quick look

 7   or full-fledged rule of reason violation) of various state antitrust and competition laws as alleged above.

 8           C.       Permanently enjoin and restrain Defendants, their affiliates, successors, transferees,
 9   assignees, and other officers, directors, agents, and employees thereof, and all other persons acting or
10   claiming to act on their behalf, from in any manner continuing, maintaining, or renewing the conduct,
11   contract, conspiracy, or combination alleged herein, or from entering into any other contract, conspiracy,
12   or combination having a similar purpose or effect, and from adopting or following any practice, plan,
13   program, or device having a similar purpose or effect.
14           D.       Enter judgment against Defendants, jointly and severally, and in favor of Plaintiffs and
15   members of the State Law Class for treble the amount of damages sustained by Plaintiffs and the State
16   Law Class as allowed by law, together with costs of the action, including reasonable attorneys’ fees, pre-
17   and post-judgment interest at the highest legal rate from and after the date of service of this Complaint to
18   the extent provided by law.

19           E.       Grant such other and further relief as the Court deems just and appropriate under the

20   circumstances.

21                                           DEMAND FOR JURY TRIAL

22           218.     Plaintiffs hereby demand a trial by jury, pursuant to Federal Rule of Civil Procedure 38(b),

23   for all claims and issues so triable.

24                                                  Respectfully submitted,
25
                                                     LAW OFFICE OF ANDREW M. LEAVITT,
26                                                   ESQ.

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         Case 1:24-cv-00855-MLG-LF     Document 1      Filed 01/29/24      Page 57 of 57




 1 Dated: January 29, 2024
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